Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 1 of 155. PageID #: 584931




                APPENDIX B
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 2 of 155. PageID #: 584932
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 3 of 155. PageID #: 584933
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 4 of 155. PageID #: 584934
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 5 of 155. PageID #: 584935
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 6 of 155. PageID #: 584936
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 7 of 155. PageID #: 584937
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 8 of 155. PageID #: 584938
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 9 of 155. PageID #: 584939
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 10 of 155. PageID #: 584940
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 11 of 155. PageID #: 584941
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 12 of 155. PageID #: 584942
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 13 of 155. PageID #: 584943
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 14 of 155. PageID #: 584944
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 15 of 155. PageID #: 584945
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 16 of 155. PageID #: 584946
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 17 of 155. PageID #: 584947
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 18 of 155. PageID #: 584948
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 19 of 155. PageID #: 584949
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 20 of 155. PageID #: 584950
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 21 of 155. PageID #: 584951
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 22 of 155. PageID #: 584952
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 23 of 155. PageID #: 584953
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 24 of 155. PageID #: 584954
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 25 of 155. PageID #: 584955




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                                      -OF TIIE


                                      N            ohn Guard
                                               ChiefDcputy Attomcy Goncral of Florida
                                               Pr¡rsuant to the autho¡ity delegated to him by
                                               Ashley Mood¡ Attornoy Gener¿l of Florida

                                      Date:



                                      STATE OITTSIDE LITIGATION COTJNSEL


                                     Kellogg Hlnren, Todd, Í'Igel & Frederlck,
                                     PJ,.L.C,
                                                   e.
                                     By:

                                     Name: David C. Frederick

                                     Dat¡: à' L\               .   2-o   ?-2*

                                     Drake                         Ftlrn, LLC

                                     By:

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Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 26 of 155. PageID #: 584956




                                   EXHIBIT A

                              Litigating Subdivisions


Counties

Alachua County
Bay County
Bradford County
Brevard County
Broward County
Calhoun County
Clay County
Dixie County
Escambia County
Gilchrist County
Gulf County
Hamilton County
Hernando County
Hillsborough County
Holmes County
Jackson County
Lake County
Lee County
Leon County
Levy County
Manatee County
Marion County
Miami-Dade County
Monroe County
Okaloosa County
Orange County
Osceola County
Palm Beach County
Pasco County
Pinellas County
Polk County
Putnam County
Saint Johns County
Saint Lucie County
Santa Rosa County
Sarasota County
Seminole County
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 27 of 155. PageID #: 584957



Suwannee County
Taylor County
Union County
Volusia County
Walton County
Washington County


Cities

Apopka
Bradenton
Clearwater
Coconut Creek
Coral Gables
Coral Springs
Daytona Beach
Daytona Beach Shores
Deerfield Beach
Delray Beach
Deltona
Eatonville (Town)
Florida City
Fort Lauderdale
Fort Pierce
Hallandale Beach
Homestead
Jacksonville
Lauderhill
Lynn Haven
Miami
Miami Gardens
Miramar
New Ormond Beach
New Port Ritchey
Niceville
North Miami
Ocala
Ocoee
Orlando
Oviedo
Palatka
Palm Bay
Palmetto
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 28 of 155. PageID #: 584958



Panama City
Pembroke Pines
Pensacola
Pinellas Park
Pompano Beach
Port Saint Lucie
Saint Augustine
Saint Petersburg
Sanford
Sarasota
Stuart
Sweetwater
Tallahassee
Tampa

Other

Florida Health Sciences Center Inc., et al. (North Broward Hospital District and Halifax Hospital Medical Center)
Lee Memorial Health System, d/b/a Lee Health
Sarasota County, FL, Public Hospital District
West Volusia Hospital Authority
Miami-Dade County School Board
Case: 1:17-md-02804-DAP Doc EXHIBIT
                            #: 4499-2B Filed: 06/07/22 29 of 155. PageID #: 584959

                              Principal Subdivisions
                                                             City/County Fund %
                                     Regional % by County
County     Principal Subdivisions                           (Principal Subdivisions
                                     for Abatement Fund
                                                                     Only)
Alachua                             1.24106016444867%
              Alachua County                                0.846347404896564%
                  Alachua                                   0.013113332456932%
                Gainesville                                 0.381597611347118%
 Baker                              0.19317380413017%
               Baker County                                 0.193173804130173%
  Bay                               0.83965637331199%
               Bay County                                   0.539446037057239%
                Callaway                                    0.024953825526948%
               Lynn Haven                                   0.039205632014689%
              Panama City                                   0.155153855595736%
            Panama City Beach                               0.080897023117378%
Bradford                            0.18948420408137%
             Bradford County                                0.189484204081366%
Brevard                             3.87879918044396%
             Brevard County                                 2.387076812679440%
             Cape Canaveral                                 0.045560750208993%
                  Cocoa                                     0.149245411423089%
              Cocoa Beach                                   0.084363286155357%
               Melbourne                                    0.383104682233196%
                Palm Bay                                    0.404817397481049%
               Rockledge                                    0.096603243797586%
             Satellite Beach                                0.035975416223927%
                Titusville                                  0.240056418923581%
             West Melbourne                                 0.051997577065795%
Broward                             9.05796267257777%
             Broward County                                 4.062623697836280%
              Coconut Creek                                 0.101131719448042%
                Cooper City                                 0.073935445072532%
               Coral Springs                                0.323406517663960%
                Dania Beach                                 0.017807041180440%
                   Davie                                    0.266922227152987%
             Deerfield Beach                                0.202423224724969%
              Fort Lauderdale                               0.830581264530524%
             Hallandale Beach                               0.154950491813518%
                Hollywood                                   0.520164608455721%
             Lauderdale Lakes                               0.062625150434726%
                 Lauderhill                                 0.144382838130419%
             Lighthouse Point                               0.029131861802689%
                  Margate                                   0.143683775129045%
                  Miramar                                   0.279280208418825%
             North Lauderdale                               0.066069624496039%
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 30 of 155. PageID #: 584960


              Oakland Park                           0.100430840698613%
                Parkland                             0.045804060448432%
             Pembroke Pines                          0.462832363602822%
               Plantation                            0.213918725664437%
             Pompano Beach                           0.335472163492860%
                Sunrise                              0.286071106146452%
                Tamarac                              0.134492458472026%
                Weston                               0.138637811282768%
               West Park                             0.029553115351569%
             Wilton Manors                           0.031630331127078%
Calhoun                          0.04712774078090%
             Calhoun County                          0.047127740780902%
Charlotte                        0.73734623337592%
             Charlotte County                        0.690225755587238%
               Punta Gorda                           0.047120477788680%
 Citrus                          0.96964577660634%
              Citrus County                          0.969645776606338%
  Clay                           1.19342946145639%
               Clay County                           1.193429461456390%
 Collier                         1.55133337642709%
              Collier County                         1.354822227370880%
               Marco Island                          0.062094952002516%
                  Naples                             0.134416197053695%
Columbia                         0.44678115079207%
             Columbia County                         0.342123248620213%
                 Lake City                           0.104659717919908%
 DeSoto                          0.11364040780249%
              DeSoto County                          0.113640407802487%
  Dixie                          0.10374458089993%
               Dixie County                          0.103744580899928%
 Duval                           5.43497515693510%
               Jacksonville                          5.295636466902910%
              Atlantic Beach                         0.038891507601085%
            Jacksonville Beach                       0.100447182431112%
Escambia                         1.34163444924367%
             Escambia County                         1.010997622822650%
                Pensacola                            0.330636826421023%
 Flagler                         0.38986471224388%
              Flagler County                         0.305009358365478%
                Palm Coast                           0.084857169626457%
Franklin                         0.04991128255001%
             Franklin County                         0.049911282550008%
Gadsden                          0.12365607407671%
             Gadsden County                          0.123656074076710%
Gilchrist                        0.06433376935497%
 Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 31 of 155. PageID #: 584961


                 Gilchrist County                        0.064333769354966%
  Glades                             0.04061283675771%
                 Glades County                           0.040612836757713%
   Gulf                              0.05991423858784%
                   Gulf County                           0.059914238587842%
 Hamilton                            0.04794119590977%
                Hamilton County                          0.047941195909773%
  Hardee                             0.06711004813185%
                 Hardee County                           0.067110048131850%
  Hendry                             0.14446091529681%
                 Hendry County                           0.144460915296806%
 Hernando                            1.51007594910967%
                Hernando County                          1.510075949109670%
 Highlands                           0.35718851023682%
                Highlands County                         0.293187022776017%
                   Avon Park                             0.025829016089707%
                     Sebring                             0.038172471371100%
Hillsborough                         8.71098411365711%
               Hillsborough County                       6.523111204400210%
                     Plant City                          0.104218491142418%
                      Tampa                              1.975671881252980%
                 Temple Terrace                          0.107980721113446%
  Holmes                             0.08161242785125%
                 Holmes County                           0.081612427851251%
Indian River                         0.75307605878085%
               Indian River County                       0.654117789755259%
                    Sebastian                            0.038315915467486%
                   Vero Beach                            0.060642353558104%
  Jackson                            0.15893605879538%
                 Jackson County                          0.158936058795375%
 Jefferson                           0.04082164778410%
                Jefferson County                         0.040821647784097%
 Lafayette                           0.03191177207568%
                Lafayette County                         0.031911772075683%
   Lake                              1.13921122451870%
                   Lake County                           0.781548804039386%
                    Clermont                             0.075909163208877%
                      Eustis                             0.041929254097962%
                  Fruitland Park                         0.008381493024259%
                    Groveland                            0.026154034991644%
                    Lady Lake                            0.025048244425835%
                    Leesburg                             0.091339390184647%
                    Minneola                             0.016058475802978%
                   Mount Dora                            0.041021380070204%
                     Tavares                             0.031820984672908%
 Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 32 of 155. PageID #: 584962


   Lee                            3.32537188335925%
                Lee County                            2.150386790650790%
               Bonita Springs                         0.017374893143227%
                Cape Coral                            0.714429677167259%
                  Estero                              0.012080171813344%
                Fort Myers                            0.431100350584635%
   Leon                           0.89719924493933%
                Leon County                           0.471201146390692%
                 Tallahassee                          0.425998098548636%
   Levy                           0.25119240174806%
                Levy County                           0.251192401748057%
  Liberty                         0.01939945222513%
               Liberty County                         0.019399452225127%
 Madison                          0.06354028745471%
              Madison County                          0.063540287454706%
 Manatee                          2.72132334623483%
              Manatee County                          2.288523455470230%
                Bradenton                             0.379930754632155%
                Palmetto                              0.052869136132442%
  Marion                          1.70117616896044%
               Marion County                          1.332181664866660%
                   Ocala                              0.368994504093786%
  Martin                          0.86948729811605%
               Martin County                          0.788263440348682%
                  Stuart                              0.081223857767371%
Miami-Dade                        5.23211978417292%
             Miami-Dade County                        4.322006939062770%
                 Aventura                             0.024619727884733%
                Coral Gables                          0.071780152130635%
                 Cutler Bay                           0.009414653667847%
                   Doral                              0.013977628531358%
                Florida City                          0.003929278792135%
                  Hialeah                             0.098015895784777%
              Hialeah Gardens                         0.005452691410713%
                Homestead                             0.024935668046393%
                Key Biscayne                          0.013683477346364%
                   Miami                              0.292793005447970%
                Miami Beach                           0.181409572478489%
               Miami Gardens                          0.040683650931878%
                Miami Lakes                           0.007836768607605%
               Miami Shores                           0.006287935516250%
               Miami Springs                          0.006169911892641%
              North Bay Village                       0.005160355973775%
                North Miami                           0.030379280716828%
             North Miami Beach                        0.030391990953217%
 Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 33 of 155. PageID #: 584963


                 Opa-locka                            0.007847663095938%
                Palmetto Bay                          0.007404620570392%
                 Pinecrest                            0.008296152865650%
                South Miami                           0.007833137111493%
              Sunny Isles Beach                       0.007693324511219%
                Sweetwater                            0.004116300841853%
 Monroe                           0.47638873858530%
              Monroe County                           0.388301353168081%
                Key West                              0.088087385417219%
 Nassau                           0.47693346300195%
                Nassau County                         0.393774017807404%
              Fernandina Beach                        0.083159445194550%
 Okaloosa                         0.81921286595494%
              Okaloosa County                         0.634511342251804%
                 Crestview                            0.070440130065665%
                   Destin                             0.014678507280787%
             Fort Walton Beach                        0.077837487643835%
                  Niceville                           0.021745398712853%
Okeechobee                        0.35349527869191%
             Okeechobee County                        0.353495278691906%
 Orange                           4.67102821454589%
               Orange County                          3.130743665036610%
                  Apopka                              0.097215150892295%
                 Eatonville                           0.008325204834538%
                 Maitland                             0.046728276208689%
                   Ocoee                              0.066599822928250%
                  Orlando                             1.160248481489900%
               Winter Garden                          0.056264584996256%
                Winter Park                           0.104903028159347%
 Osceola                          1.07345209294015%
               Osceola County                         0.837248691390376%
                 Kissimmee                            0.162366006872243%
                  St. Cloud                           0.073837394677534%
Palm Beach                        8.60159437205259%
             Palm Beach County                        5.964262083621730%
                 Belle Glade                          0.020828445944817%
                 Boca Raton                           0.472069073961229%
               Boynton Beach                          0.306498271771001%
                Delray Beach                          0.351846579457498%
                 Greenacres                           0.076424835656644%
                   Jupiter                            0.125466374888059%
                 Lake Worth                           0.117146617297688%
                   Lantana                            0.024507151505292%
              North Palm Beach                        0.044349646255964%
             Palm Beach Gardens                       0.233675880256500%
 Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 34 of 155. PageID #: 584964


                Palm Springs                         0.038021764282493%
               Riviera Beach                         0.163617057282493%
              Royal Palm Beach                       0.049295743959188%
                Wellington                           0.050183644758335%
              West Palm Beach                        0.549265602541466%
  Pasco                          4.69208726049375%
               Pasco County                          4.429535538910390%
              New Port Richey                        0.149879107494464%
                Zephyrhills                          0.112672614088898%
 Pinellas                        7.93488981677650%
               Pinellas County                       4.793536735851510%
                 Clearwater                          0.633863120195985%
                  Dunedin                            0.102440873796068%
                   Gulfport                          0.047893986460330%
                    Largo                            0.374192990776726%
                   Oldsmar                           0.039421706033295%
                Pinellas Park                        0.251666311990547%
                Safety Harbor                        0.038061710739714%
                  Seminole                           0.095248695748172%
               St. Petersburg                        1.456593090134460%
               Tarpon Springs                        0.101970595049690%
   Polk                          2.15048302529773%
               Polk County                           1.601687701502640%
               Auburndale                            0.028636162583534%
                  Bartow                             0.043971970660417%
                Haines City                          0.047984773863106%
                 Lakeland                            0.294875668467647%
                Lake Wales                           0.036293172133642%
               Winter Haven                          0.097033576086743%
 Putnam                          0.38489319406788%
               Putnam County                         0.337937949352250%
                   Palatka                           0.046955244715628%
Santa Rosa                       0.70126731951283%
             Santa Rosa County                       0.654635277951081%
                  Milton                             0.046632041561747%
 Sarasota                        2.80504385757853%
              Sarasota County                        1.968804722107020%
                 North Port                          0.209611771276754%
                  Sarasota                           0.484279979634570%
                   Venice                            0.142347384560186%
Seminole                         2.14114826454432%
             Seminole County                         1.508694164839420%
             Altamonte Springs                       0.081305566429869%
                Casselberry                          0.080034542791008%
                 Lake Mary                           0.079767627826847%
 Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 35 of 155. PageID #: 584965


                Longwood                             0.061710013414747%
                  Oviedo                             0.103130858057164%
                  Sanford                            0.164243490361646%
               Winter Springs                        0.062262000823623%
 St. Johns                       0.71033334955402%
              St. Johns County                       0.663822963111989%
                St. Augustine                        0.046510386442027%
 St. Lucie                       1.50662784355224%
              St. Lucie County                       0.956289133909966%
                 Fort Pierce                         0.159535255653695%
                Port St. Lucie                       0.390803453988581%
  Sumter                         0.32639887045945%
               Sumter County                         0.312364953738371%
                 Wildwood                            0.014033916721079%
Suwannee                         0.19101487969217%
             Suwannee County                         0.191014879692165%
  Taylor                         0.09218189728241%
               Taylor County                         0.092181897282406%
  Union                          0.06515630322411%
               Union County                          0.065156303224115%
  Volusia                        3.13032967447995%
              Volusia County                         1.784428217305820%
              Daytona Beach                          0.447556475211771%
                  DeBary                             0.035283616214775%
                  DeLand                             0.098983689498367%
                 Deltona                             0.199329190038370%
                Edgewater                            0.058042202342606%
                 Holly Hill                          0.031615805142634%
             New Smyrna Beach                        0.104065968305755%
               Orange City                           0.033562287058147%
              Ormond Beach                           0.114644516477187%
               Port Orange                           0.177596501561906%
              South Daytona                          0.045221205322611%
 Wakulla                         0.11512932120801%
              Wakulla County                         0.115129321208010%
  Walton                         0.26855821615101%
               Walton County                         0.268558216151006%
Washington                       0.12012444410873%
             Washington County                       0.120124444108733%
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 36 of 155. PageID #: 584966




                                                  EXHIBIT C

                                         OPIOID REMEDIATION


                                                  Schedule A
                                                Core Strategies

Subdivisions shall choose from among the abatement strategies listed in Schedule B. However,
priority shall be given to the following core abatement strategies (“Core Strategies”).1


                           A.       NALOXONE OR OTHER FDA-APPROVED
                                    MEDICATION TO REVERSE OPIOID OVERDOSES

                                    1.       Expand training for first responders, schools, community
                                             support groups and families; and

                                    2.       Increase distribution to individuals who are uninsured or
                                             whose insurance does not cover the needed service.

                           B.       MEDICATION-ASSISTED TREATMENT (“MAT”)
                                    DISTRIBUTION AND OTHER OPIOID-RELATED
                                    TREATMENT

                                    1.       Increase distribution of MAT to individuals who are
                                             uninsured or whose insurance does not cover the needed
                                             service;

                                    2.       Provide education to school-based and youth-focused
                                             programs that discourage or prevent misuse;

                                    3.       Provide MAT education and awareness training to
                                             healthcare providers, EMTs, law enforcement, and other
                                             first responders; and

                                    4.       Provide treatment and recovery support services such as
                                             residential and inpatient treatment, intensive outpatient
                                             treatment, outpatient therapy or counseling, and recovery
                                             housing that allow or integrate medication and with other
                                             support services.




1
 As used in this Schedule A, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for
new or existing programs.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 37 of 155. PageID #: 584967




                   C.    PREGNANT & POSTPARTUM WOMEN

                         1.    Expand Screening, Brief Intervention, and Referral to
                               Treatment (“SBIRT”) services to non-Medicaid eligible or
                               uninsured pregnant women;

                         2.    Expand comprehensive evidence-based treatment and
                               recovery services, including MAT, for women with co-
                               occurring Opioid Use Disorder (“OUD”) and other
                               Substance Use Disorder (“SUD”)/Mental Health disorders
                               for uninsured individuals for up to 12 months postpartum;
                               and

                         3.    Provide comprehensive wrap-around services to individuals
                               with OUD, including housing, transportation, job
                               placement/training, and childcare.

                   D.    EXPANDING TREATMENT FOR NEONATAL
                         ABSTINENCE SYNDROME (“NAS”)

                         1.    Expand comprehensive evidence-based and recovery
                               support for NAS babies;

                         2.    Expand services for better continuum of care with infant-
                               need dyad; and

                         3.    Expand long-term treatment and services for medical
                               monitoring of NAS babies and their families.

                   E.    EXPANSION OF WARM HAND-OFF PROGRAMS AND
                         RECOVERY SERVICES

                         1.    Expand services such as navigators and on-call teams to
                               begin MAT in hospital emergency departments;

                         2.    Expand warm hand-off services to transition to recovery
                               services;

                         3.    Broaden scope of recovery services to include co-occurring
                               SUD or mental health conditions;

                         4.    Provide comprehensive wrap-around services to individuals
                               in recovery, including housing, transportation, job
                               placement/training, and childcare; and

                         5.    Hire additional social workers or other behavioral health
                               workers to facilitate expansions above.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 38 of 155. PageID #: 584968




                   F.    TREATMENT FOR INCARCERATED POPULATION

                         1.    Provide evidence-based treatment and recovery support,
                               including MAT for persons with OUD and co-occurring
                               SUD/MH disorders within and transitioning out of the
                               criminal justice system; and

                         2.    Increase funding for jails to provide treatment to inmates
                               with OUD.

                   G.    PREVENTION PROGRAMS

                         1.    Funding for media campaigns to prevent opioid use (similar
                               to the FDA’s “Real Cost” campaign to prevent youth from
                               misusing tobacco);

                         2.    Funding for evidence-based prevention programs in
                               schools;

                         3.    Funding for medical provider education and outreach
                               regarding best prescribing practices for opioids consistent
                               with the 2016 CDC guidelines, including providers at
                               hospitals (academic detailing);

                         4.    Funding for community drug disposal programs; and

                         5.    Funding and training for first responders to participate in
                               pre-arrest diversion programs, post-overdose response
                               teams, or similar strategies that connect at-risk individuals
                               to behavioral health services and supports.

                   H.    EXPANDING SYRINGE SERVICE PROGRAMS

                         1.    Provide comprehensive syringe services programs with
                               more wrap-around services, including linkage to OUD
                               treatment, access to sterile syringes and linkage to care and
                               treatment of infectious diseases.

                   I.    EVIDENCE-BASED DATA COLLECTION AND
                         RESEARCH ANALYZING THE EFFECTIVENESS OF THE
                         ABATEMENT STRATEGIES WITHIN THE STATE
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 39 of 155. PageID #: 584969




                                                  Schedule B
                                                 Approved Uses

Support treatment of Opioid Use Disorder (OUD) and any co-occurring Substance Use Disorder
or Mental Health (SUD/MH) conditions through evidence-based or evidence-informed programs
or strategies that may include, but are not limited to, the following:

                                         PART ONE: TREATMENT


A.       TREAT OPIOID USE DISORDER (OUD)
         Support treatment of Opioid Use Disorder (“OUD”) and any co-occurring Substance Use
         Disorder or Mental Health (“SUD/MH”) conditions through evidence-based or evidence-
         informed programs or strategies that may include, but are not limited to, those that:2

         1.       Expand availability of treatment for OUD and any co-occurring SUD/MH
                  conditions, including all forms of Medication-Assisted Treatment (“MAT”)
                  approved by the U.S. Food and Drug Administration.

         2.       Support and reimburse evidence-based services that adhere to the American
                  Society of Addiction Medicine (“ASAM”) continuum of care for OUD and any co-
                  occurring SUD/MH conditions.

         3.       Expand telehealth to increase access to treatment for OUD and any co-occurring
                  SUD/MH conditions, including MAT, as well as counseling, psychiatric support,
                  and other treatment and recovery support services.

         4.       Improve oversight of Opioid Treatment Programs (“OTPs”) to assure evidence-
                  based or evidence-informed practices such as adequate methadone dosing and low
                  threshold approaches to treatment.

         5.       Support mobile intervention, treatment, and recovery services, offered by qualified
                  professionals and service providers, such as peer recovery coaches, for persons
                  with OUD and any co-occurring SUD/MH conditions and for persons who have
                  experienced an opioid overdose.

         6.       Provide treatment of trauma for individuals with OUD (e.g., violence, sexual
                  assault, human trafficking, or adverse childhood experiences) and family members
                  (e.g., surviving family members after an overdose or overdose fatality), and
                  training of health care personnel to identify and address such trauma.

         7.       Support evidence-based withdrawal management services for people with OUD
                  and any co-occurring mental health conditions.


2
 As used in this Schedule B, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for
new or existing programs.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 40 of 155. PageID #: 584970




       8.     Provide training on MAT for health care providers, first responders, students, or
              other supporting professionals, such as peer recovery coaches or recovery
              outreach specialists, including telementoring to assist community-based providers
              in rural or underserved areas.

       9.     Support workforce development for addiction professionals who work with
              persons with OUD and any co-occurring SUD/MH conditions.

       10.    Offer fellowships for addiction medicine specialists for direct patient care,
              instructors, and clinical research for treatments.

       11.    Offer scholarships and supports for behavioral health practitioners or workers
              involved in addressing OUD and any co-occurring SUD/MH or mental health
              conditions, including, but not limited to, training, scholarships, fellowships, loan
              repayment programs, or other incentives for providers to work in rural or
              underserved areas.

       12.    Provide funding and training for clinicians to obtain a waiver under the federal
              Drug Addiction Treatment Act of 2000 (“DATA 2000”) to prescribe MAT for
              OUD, and provide technical assistance and professional support to clinicians who
              have obtained a DATA 2000 waiver.

       13.    Disseminate of web-based training curricula, such as the American Academy of
              Addiction Psychiatry’s Provider Clinical Support Service–Opioids web-based
              training curriculum and motivational interviewing.

       14.    Develop and disseminate new curricula, such as the American Academy of
              Addiction Psychiatry’s Provider Clinical Support Service for Medication–
              Assisted Treatment.

B.     SUPPORT PEOPLE IN TREATMENT AND RECOVERY

       Support people in recovery from OUD and any co-occurring SUD/MH conditions
       through evidence-based or evidence-informed programs or strategies that may include,
       but are not limited to, the programs or strategies that:

       1.     Provide comprehensive wrap-around services to individuals with OUD and any
              co-occurring SUD/MH conditions, including housing, transportation, education,
              job placement, job training, or childcare.

       2.     Provide the full continuum of care of treatment and recovery services for OUD
              and any co-occurring SUD/MH conditions, including supportive housing, peer
              support services and counseling, community navigators, case management, and
              connections to community-based services.

       3.     Provide counseling, peer-support, recovery case management and residential
              treatment with access to medications for those who need it to persons with OUD
              and any co-occurring SUD/MH conditions.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 41 of 155. PageID #: 584971




       4.    Provide access to housing for people with OUD and any co-occurring SUD/MH
             conditions, including supportive housing, recovery housing, housing assistance
             programs, training for housing providers, or recovery housing programs that allow
             or integrate FDA-approved mediation with other support services.

       5.    Provide community support services, including social and legal services, to assist
             in deinstitutionalizing persons with OUD and any co-occurring SUD/MH
             conditions.

       6.    Support or expand peer-recovery centers, which may include support groups,
             social events, computer access, or other services for persons with OUD and any
             co-occurring SUD/MH conditions.

       7.    Provide or support transportation to treatment or recovery programs or services
             for persons with OUD and any co-occurring SUD/MH conditions.

       8.    Provide employment training or educational services for persons in treatment for
             or recovery from OUD and any co-occurring SUD/MH conditions.

       9.    Identify successful recovery programs such as physician, pilot, and college
             recovery programs, and provide support and technical assistance to increase the
             number and capacity of high-quality programs to help those in recovery.

       10.   Engage non-profits, faith-based communities, and community coalitions to
             support people in treatment and recovery and to support family members in their
             efforts to support the person with OUD in the family.

       11.   Provide training and development of procedures for government staff to
             appropriately interact and provide social and other services to individuals with or
             in recovery from OUD, including reducing stigma.

       12.   Support stigma reduction efforts regarding treatment and support for persons with
             OUD, including reducing the stigma on effective treatment.

       13.   Create or support culturally appropriate services and programs for persons with
             OUD and any co-occurring SUD/MH conditions, including new Americans.

       14.   Create and/or support recovery high schools.

       15.   Hire or train behavioral health workers to provide or expand any of the services or
             supports listed above.

C.     CONNECT PEOPLE WHO NEED HELP TO THE HELP THEY NEED
       (CONNECTIONS TO CARE)

       Provide connections to care for people who have—or are at risk of developing—OUD
       and any co-occurring SUD/MH conditions through evidence-based or evidence-informed
       programs or strategies that may include, but are not limited to, those that:
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 42 of 155. PageID #: 584972




       1.    Ensure that health care providers are screening for OUD and other risk factors and
             know how to appropriately counsel and treat (or refer if necessary) a patient for
             OUD treatment.

       2.    Fund SBIRT programs to reduce the transition from use to disorders, including
             SBIRT services to pregnant women who are uninsured or not eligible for
             Medicaid.

       3.    Provide training and long-term implementation of SBIRT in key systems (health,
             schools, colleges, criminal justice, and probation), with a focus on youth and
             young adults when transition from misuse to opioid disorder is common.

       4.    Purchase automated versions of SBIRT and support ongoing costs of the
             technology.

       5.    Expand services such as navigators and on-call teams to begin MAT in hospital
             emergency departments.

       6.    Provide training for emergency room personnel treating opioid overdose patients
             on post-discharge planning, including community referrals for MAT, recovery
             case management or support services.

       7.    Support hospital programs that transition persons with OUD and any co-occurring
             SUD/MH conditions, or persons who have experienced an opioid overdose, into
             clinically appropriate follow-up care through a bridge clinic or similar approach.

       8.    Support crisis stabilization centers that serve as an alternative to hospital
             emergency departments for persons with OUD and any co-occurring SUD/MH
             conditions or persons that have experienced an opioid overdose.

       9.    Support the work of Emergency Medical Systems, including peer support
             specialists, to connect individuals to treatment or other appropriate services
             following an opioid overdose or other opioid-related adverse event.

       10.   Provide funding for peer support specialists or recovery coaches in emergency
             departments, detox facilities, recovery centers, recovery housing, or similar
             settings; offer services, supports, or connections to care to persons with OUD and
             any co-occurring SUD/MH conditions or to persons who have experienced an
             opioid overdose.

       11.   Expand warm hand-off services to transition to recovery services.

       12.   Create or support school-based contacts that parents can engage with to seek
             immediate treatment services for their child; and support prevention, intervention,
             treatment, and recovery programs focused on young people.

       13.   Develop and support best practices on addressing OUD in the workplace.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 43 of 155. PageID #: 584973




       14.    Support assistance programs for health care providers with OUD.

       15.    Engage non-profits and the faith community as a system to support outreach for
              treatment.

       16.    Support centralized call centers that provide information and connections to
              appropriate services and supports for persons with OUD and any co-occurring
              SUD/MH conditions.

D.     ADDRESS THE NEEDS OF CRIMINAL JUSTICE-INVOLVED PERSONS

       Address the needs of persons with OUD and any co-occurring SUD/MH conditions who
       are involved in, are at risk of becoming involved in, or are transitioning out of the
       criminal justice system through evidence-based or evidence-informed programs or
       strategies that may include, but are not limited to, those that:

       1.     Support pre-arrest or pre-arraignment diversion and deflection strategies for
              persons with OUD and any co-occurring SUD/MH conditions, including
              established strategies such as:

              1.     Self-referral strategies such as the Angel Programs or the Police Assisted
                     Addiction Recovery Initiative (“PAARI”);

              2.     Active outreach strategies such as the Drug Abuse Response Team
                     (“DART”) model;

              3.     “Naloxone Plus” strategies, which work to ensure that individuals who
                     have received naloxone to reverse the effects of an overdose are then
                     linked to treatment programs or other appropriate services;

              4.     Officer prevention strategies, such as the Law Enforcement Assisted
                     Diversion (“LEAD”) model;

              5.     Officer intervention strategies such as the Leon County, Florida Adult
                     Civil Citation Network or the Chicago Westside Narcotics Diversion to
                     Treatment Initiative; or

              6.     Co-responder and/or alternative responder models to address OUD-related
                     911 calls with greater SUD expertise.

       2.     Support pre-trial services that connect individuals with OUD and any co-
              occurring SUD/MH conditions to evidence-informed treatment, including MAT,
              and related services.

       3.     Support treatment and recovery courts that provide evidence-based options for
              persons with OUD and any co-occurring SUD/MH conditions.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 44 of 155. PageID #: 584974




       4.     Provide evidence-informed treatment, including MAT, recovery support, harm
              reduction, or other appropriate services to individuals with OUD and any co-
              occurring SUD/MH conditions who are incarcerated in jail or prison.

       5.     Provide evidence-informed treatment, including MAT, recovery support, harm
              reduction, or other appropriate services to individuals with OUD and any co-
              occurring SUD/MH conditions who are leaving jail or prison or have recently left
              jail or prison, are on probation or parole, are under community corrections
              supervision, or are in re-entry programs or facilities.

       6.     Support critical time interventions (“CTI”), particularly for individuals living with
              dual-diagnosis OUD/serious mental illness, and services for individuals who face
              immediate risks and service needs and risks upon release from correctional
              settings.

       7.     Provide training on best practices for addressing the needs of criminal justice-
              involved persons with OUD and any co-occurring SUD/MH conditions to law
              enforcement, correctional, or judicial personnel or to providers of treatment,
              recovery, harm reduction, case management, or other services offered in
              connection with any of the strategies described in this section.

E.     ADDRESS THE NEEDS OF PREGNANT OR PARENTING WOMEN AND
       THEIR FAMILIES, INCLUDING BABIES WITH NEONATAL ABSTINENCE
       SYNDROME

       Address the needs of pregnant or parenting women with OUD and any co-occurring
       SUD/MH conditions, and the needs of their families, including babies with neonatal
       abstinence syndrome (“NAS”), through evidence-based or evidence-informed programs
       or strategies that may include, but are not limited to, those that:

       1.     Support evidence-based or evidence-informed treatment, including MAT,
              recovery services and supports, and prevention services for pregnant women—or
              women who could become pregnant—who have OUD and any co-occurring
              SUD/MH conditions, and other measures to educate and provide support to
              families affected by Neonatal Abstinence Syndrome.

       2.     Expand comprehensive evidence-based treatment and recovery services, including
              MAT, for uninsured women with OUD and any co-occurring SUD/MH
              conditions for up to 12 months postpartum.

       3.     Provide training for obstetricians or other healthcare personnel who work with
              pregnant women and their families regarding treatment of OUD and any co-
              occurring SUD/MH conditions.

       4.     Expand comprehensive evidence-based treatment and recovery support for NAS
              babies; expand services for better continuum of care with infant-need dyad; and
              expand long-term treatment and services for medical monitoring of NAS babies
              and their families.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 45 of 155. PageID #: 584975




       5.     Provide training to health care providers who work with pregnant or parenting
              women on best practices for compliance with federal requirements that children
              born with NAS get referred to appropriate services and receive a plan of safe care.

       6.     Provide child and family supports for parenting women with OUD and any co-
              occurring SUD/MH conditions.

       7.     Provide enhanced family support and child care services for parents with OUD
              and any co-occurring SUD/MH conditions.

       8.     Provide enhanced support for children and family members suffering trauma as a
              result of addiction in the family; and offer trauma-informed behavioral health
              treatment for adverse childhood events.

       9.     Offer home-based wrap-around services to persons with OUD and any co-
              occurring SUD/MH conditions, including, but not limited to, parent skills
              training.

       10.    Provide support for Children’s Services—Fund additional positions and services,
              including supportive housing and other residential services, relating to children
              being removed from the home and/or placed in foster care due to custodial opioid
              use.

                                PART TWO: PREVENTION

F.     PREVENT OVER-PRESCRIBING AND ENSURE APPROPRIATE
       PRESCRIBING AND DISPENSING OF OPIOIDS

       Support efforts to prevent over-prescribing and ensure appropriate prescribing and
       dispensing of opioids through evidence-based or evidence-informed programs or
       strategies that may include, but are not limited to, the following:

       1.     Funding medical provider education and outreach regarding best prescribing
              practices for opioids consistent with the Guidelines for Prescribing Opioids for
              Chronic Pain from the U.S. Centers for Disease Control and Prevention, including
              providers at hospitals (academic detailing).

       2.     Training for health care providers regarding safe and responsible opioid
              prescribing, dosing, and tapering patients off opioids.

       3.     Continuing Medical Education (CME) on appropriate prescribing of opioids.

       4.     Providing Support for non-opioid pain treatment alternatives, including training
              providers to offer or refer to multi-modal, evidence-informed treatment of pain.

       5.     Supporting enhancements or improvements to Prescription Drug Monitoring
              Programs (“PDMPs”), including, but not limited to, improvements that:
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 46 of 155. PageID #: 584976




              1.      Increase the number of prescribers using PDMPs;

              2.      Improve point-of-care decision-making by increasing the quantity, quality,
                      or format of data available to prescribers using PDMPs, by improving the
                      interface that prescribers use to access PDMP data, or both; or

              3.      Enable states to use PDMP data in support of surveillance or intervention
                      strategies, including MAT referrals and follow-up for individuals
                      identified within PDMP data as likely to experience OUD in a manner that
                      complies with all relevant privacy and security laws and rules.

       6.     Ensuring PDMPs incorporate available overdose/naloxone deployment data,
              including the United States Department of Transportation’s Emergency Medical
              Technician overdose database in a manner that complies with all relevant privacy
              and security laws and rules.

       7.     Increasing electronic prescribing to prevent diversion or forgery.

       8.     Educating dispensers on appropriate opioid dispensing.

G.     PREVENT MISUSE OF OPIOIDS

       Support efforts to discourage or prevent misuse of opioids through evidence-based or
       evidence-informed programs or strategies that may include, but are not limited to, the
       following:

       1.     Funding media campaigns to prevent opioid misuse.

       2.     Corrective advertising or affirmative public education campaigns based on
              evidence.

       3.     Public education relating to drug disposal.

       4.     Drug take-back disposal or destruction programs.

       5.     Funding community anti-drug coalitions that engage in drug prevention efforts.

       6.     Supporting community coalitions in implementing evidence-informed prevention,
              such as reduced social access and physical access, stigma reduction—including
              staffing, educational campaigns, support for people in treatment or recovery, or
              training of coalitions in evidence-informed implementation, including the
              Strategic Prevention Framework developed by the U.S. Substance Abuse and
              Mental Health Services Administration (“SAMHSA”).

       7.     Engaging non-profits and faith-based communities as systems to support
              prevention.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 47 of 155. PageID #: 584977




       8.     Funding evidence-based prevention programs in schools or evidence-informed
              school and community education programs and campaigns for students, families,
              school employees, school athletic programs, parent-teacher and student
              associations, and others.

       9.     School-based or youth-focused programs or strategies that have demonstrated
              effectiveness in preventing drug misuse and seem likely to be effective in
              preventing the uptake and use of opioids.

       10.    Create or support community-based education or intervention services for
              families, youth, and adolescents at risk for OUD and any co-occurring SUD/MH
              conditions.

       11.    Support evidence-informed programs or curricula to address mental health needs
              of young people who may be at risk of misusing opioids or other drugs, including
              emotional modulation and resilience skills.

       12.    Support greater access to mental health services and supports for young people,
              including services and supports provided by school nurses, behavioral health
              workers or other school staff, to address mental health needs in young people that
              (when not properly addressed) increase the risk of opioid or another drug misuse.

H.     PREVENT OVERDOSE DEATHS AND OTHER HARMS (HARM REDUCTION)

       Support efforts to prevent or reduce overdose deaths or other opioid-related harms
       through evidence-based or evidence-informed programs or strategies that may include,
       but are not limited to, the following:

       1.     Increased availability and distribution of naloxone and other drugs that treat
              overdoses for first responders, overdose patients, individuals with OUD and their
              friends and family members, schools, community navigators and outreach
              workers, persons being released from jail or prison, or other members of the
              general public.

       2.     Public health entities providing free naloxone to anyone in the community.

       3.     Training and education regarding naloxone and other drugs that treat overdoses
              for first responders, overdose patients, patients taking opioids, families, schools,
              community support groups, and other members of the general public.

       4.     Enabling school nurses and other school staff to respond to opioid overdoses, and
              provide them with naloxone, training, and support.

       5.     Expanding, improving, or developing data tracking software and applications for
              overdoses/naloxone revivals.

       6.     Public education relating to emergency responses to overdoses.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 48 of 155. PageID #: 584978




       7.     Public education relating to immunity and Good Samaritan laws.

       8.     Educating first responders regarding the existence and operation of immunity and
              Good Samaritan laws.

       9.     Syringe service programs and other evidence-informed programs to reduce harms
              associated with intravenous drug use, including supplies, staffing, space, peer
              support services, referrals to treatment, fentanyl checking, connections to care,
              and the full range of harm reduction and treatment services provided by these
              programs.

       10.    Expanding access to testing and treatment for infectious diseases such as HIV and
              Hepatitis C resulting from intravenous opioid use.

       11.    Supporting mobile units that offer or provide referrals to harm reduction services,
              treatment, recovery supports, health care, or other appropriate services to persons
              that use opioids or persons with OUD and any co-occurring SUD/MH conditions.

       12.    Providing training in harm reduction strategies to health care providers, students,
              peer recovery coaches, recovery outreach specialists, or other professionals that
              provide care to persons who use opioids or persons with OUD and any co-
              occurring SUD/MH conditions.

       13.    Supporting screening for fentanyl in routine clinical toxicology testing.

                            PART THREE: OTHER STRATEGIES


I.     FIRST RESPONDERS

       In addition to items in section C, D and H relating to first responders, support the
       following:

       1.     Education of law enforcement or other first responders regarding appropriate
              practices and precautions when dealing with fentanyl or other drugs.

       2.     Provision of wellness and support services for first responders and others who
              experience secondary trauma associated with opioid-related emergency events.

J.     LEADERSHIP, PLANNING AND COORDINATION

       Support efforts to provide leadership, planning, coordination, facilitations, training and
       technical assistance to abate the opioid epidemic through activities, programs, or
       strategies that may include, but are not limited to, the following:

       1.     Statewide, regional, local or community regional planning to identify root causes
              of addiction and overdose, goals for reducing harms related to the opioid
              epidemic, and areas and populations with the greatest needs for treatment
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 49 of 155. PageID #: 584979




              intervention services, and to support training and technical assistance and other
              strategies to abate the opioid epidemic described in this opioid abatement strategy
              list.

       2.     A dashboard to (a) share reports, recommendations, or plans to spend opioid
              settlement funds; (b) to show how opioid settlement funds have been spent; (c) to
              report program or strategy outcomes; or (d) to track, share or visualize key opioid-
              or health-related indicators and supports as identified through collaborative
              statewide, regional, local or community processes.

       3.     Invest in infrastructure or staffing at government or not-for-profit agencies to
              support collaborative, cross-system coordination with the purpose of preventing
              overprescribing, opioid misuse, or opioid overdoses, treating those with OUD and
              any co-occurring SUD/MH conditions, supporting them in treatment or recovery,
              connecting them to care, or implementing other strategies to abate the opioid
              epidemic described in this opioid abatement strategy list.

       4.     Provide resources to staff government oversight and management of opioid
              abatement programs.

K.     TRAINING

       In addition to the training referred to throughout this document, support training to abate
       the opioid epidemic through activities, programs, or strategies that may include, but are
       not limited to, those that:

       1.     Provide funding for staff training or networking programs and services to improve
              the capability of government, community, and not-for-profit entities to abate the
              opioid crisis.

       2.     Support infrastructure and staffing for collaborative cross-system coordination to
              prevent opioid misuse, prevent overdoses, and treat those with OUD and any co-
              occurring SUD/MH conditions, or implement other strategies to abate the opioid
              epidemic described in this opioid abatement strategy list (e.g., health care,
              primary care, pharmacies, PDMPs, etc.).

L.     RESEARCH

       Support opioid abatement research that may include, but is not limited to, the following:

              1.      Monitoring, surveillance, data collection and evaluation of programs and
                      strategies described in this opioid abatement strategy list.

              2.      Research non-opioid treatment of chronic pain.

              3.      Research on improved service delivery for modalities such as SBIRT that
                      demonstrate promising but mixed results in populations vulnerable to
                      opioid use disorders.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 50 of 155. PageID #: 584980




             4.    Research on novel harm reduction and prevention efforts such as the
                   provision of fentanyl test strips.

             5.    Research on innovative supply-side enforcement efforts such as improved
                   detection of mail-based delivery of synthetic opioids.

             6.    Expanded research on swift/certain/fair models to reduce and deter opioid
                   misuse within criminal justice populations that build upon promising
                   approaches used to address other substances (e.g., Hawaii HOPE and
                   Dakota 24/7).

             7.    Epidemiological surveillance of OUD-related behaviors in critical
                   populations, including individuals entering the criminal justice system,
                   including, but not limited to approaches modeled on the Arrestee Drug
                   Abuse Monitoring (“ADAM”) system.

             8.    Qualitative and quantitative research regarding public health risks and
                   harm reduction opportunities within illicit drug markets, including surveys
                   of market participants who sell or distribute illicit opioids.

             9.    Geospatial analysis of access barriers to MAT and their association with
                   treatment engagement and treatment outcomes.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 51 of 155. PageID #: 584981




                                          EXHIBIT D

                         Subdivision Settlement Participation Form

 Governmental Entity:                                               State:
 Authorized Official:
 Address 1:
 Address 2:
 City, State, Zip:
 Phone:
 Email:

        The governmental entity identified above (“Governmental Entity”), in order to obtain and
in consideration for the benefits provided to the Governmental Entity pursuant to the Settlement
Agreement dated _________________ (“Teva Settlement”), and acting through the undersigned
authorized official, hereby elects to participate in the Teva Settlement, release all Released
Claims against all Releasees, and agrees as follows.

   1. The Governmental Entity is aware of and has reviewed the Teva Settlement, understands
      that all terms in this Subdivision Settlement Participation Form have the meanings
      defined therein, and agrees that by signing this Subdivision Settlement Participation
      Form, the Governmental Entity elects to participate in the Teva Settlement and become a
      Participating Subdivision as provided therein.

   2. The Governmental Entity shall immediately cease any and all litigation activities as to the
      Releasees and Released Claims and, within the later of 7 days following the entry of the
      Consent Judgment or 7 days of the Execution Date of this Subdivision Settlement
      Participation Form voluntarily dismiss with prejudice any Released Claims that it has
      filed.

   3. The Governmental Entity agrees to the terms of the Teva Settlement pertaining to
      Subdivisions as defined therein.

   4. By agreeing to the terms of the Teva Settlement and expressly agreeing to the releases
      provided for therein, the Governmental Entity is entitled to the benefits provided therein,
      including, if applicable, monetary payments beginning after the Effective Date of the
      Agreement.

   5. The Governmental Entity agrees to use any monies it receives through the Teva
      Settlement solely for the purposes provided therein.

   6. The Governmental Entity submits to the jurisdiction of the Court for purposes limited to
      the Court’s role as provided in, and for resolving disputes to the extent provided in, the
      Teva Settlement.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 52 of 155. PageID #: 584982




   7. The Governmental Entity has the right to enforce those rights given to them in the Teva
      Settlement.

   8. The Governmental Entity, as a Participating Subdivision, hereby becomes a Releasor for
      all purposes in the Teva Settlement, including, but not limited to, all provisions of Section
      D and E, and along with all departments, agencies, divisions, boards, commissions,
      districts, instrumentalities of any kind and attorneys, and any person in their official
      capacity elected or appointed to serve any of the foregoing and any agency, person, or
      other entity claiming by or through any of the foregoing, and any other entity identified in
      the definition of Releasor, provides for a release to the fullest extent of its authority. As a
      Releasor, the Governmental Entity hereby absolutely, unconditionally, and irrevocably
      covenants not to bring, file, or claim, or to cause, assist or permit to be brought, filed, or
      claimed, or to otherwise seek to establish liability for any Released Claims against any
      Releasee in any forum whatsoever. The releases provided for in the Teva Settlement are
      intended by the Parties to be broad and shall be interpreted so as to give the Releasees the
      broadest possible bar against any liability relating in any way to Released Claims and
      extend to the full extent of the power of the Governmental Entity to release Claims. The
      Teva Settlement shall be a complete bar to any Released Claim.

   9. The Governmental Entity hereby takes on all rights and obligations of a Participating
      Subdivision as set forth in the Teva Settlement.

   10. In connection with the releases provided for in the Teva Settlement, each Governmental
       Entity expressly waives, releases, and forever discharges any and all provisions, rights,
       and benefits conferred by any law of any state or territory of the United States or other
       jurisdiction, or principle of common law, which is similar, comparable, or equivalent to
       § 1542 of the California Civil Code, which reads:

          General Release; extent. A general release does not extend to claims that
          the creditor or releasing party does not know or suspect to exist in his or
          her favor at the time of executing the release, and that if known by him or
          her would have materially affected his or her settlement with the debtor or
          released party.

       A Releasor may hereafter discover facts other than or different from those which it
       knows, believes, or assumes to be true with respect to the Released Claims, but each
       Governmental Entity hereby expressly waives and fully, finally, and forever settles,
       releases and discharges, upon the Effective Date of the Release, any and all Released
       Claims that may exist as of such date but which Releasors do not know or suspect to
       exist, whether through ignorance, oversight, error, negligence or through no fault
       whatsoever, and which, if known, would materially affect the Governmental Entities’
       decision to participate in the Teva Settlement.

   11. Nothing herein is intended to modify in any way the terms of the Teva Settlement, to
       which the Governmental Entity hereby agrees. To the extent this Subdivision Settlement
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 53 of 155. PageID #: 584983




       Participation Form is interpreted differently from the Teva Settlement in any respect, the
       Teva Settlement controls.

I have all necessary power and authorization to execute this Subdivision Settlement Participation
Form on behalf of the Governmental Entity.

                                     Signature:     ________________________________

                                     Name:          ________________________________

                                     Title:         ________________________________

                                     Date:          ________________________________
                                                    (the “Execution Date of this Subdivision
                                                    Settlement Participation Form”)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 54 of 155. PageID #: 584984




                                           EXHIBIT E
                                               draft


                        Qualified Settlement Fund Administrator Terms


  I.   Definitions
          A. This Qualified Settlement Fund Administrator Terms document incorporates all
             defined terms in the Settlement Agreement and the Escrow Agreement, unless
             otherwise defined herein, and shall be interpreted in a manner consistent with the
             Settlement Agreement and Escrow Agreement to the greatest extent feasible.
          B. Settlement Fund Administrator. Wilmington Trust, National Association
             (“Wilmington Trust” or “Settlement Fund Administrator”) shall serve as the
             Settlement Fund Administrator and is intended to serve as an “administrator” as
             defined in Treas. Reg. § 1.468B-2(k)(3). In the event that Wilmington Trust
             becomes unable to continue to serve as the Settlement Fund Administrator, the
             Parties shall meet and confer and agree upon a replacement.


 II.   Establishment of the Settlement Fund Administrator
          A. Selection of the Settlement Fund Administrator.
                     i. Wilmington Trust is selected as the Settlement Fund Administrator.
                 ii. The Qualified Settlement Fund (“QSF”) is being established pursuant to
                     order of the Court to resolve or satisfy one or more contested claims that
                     have resulted or may result from an event (or a related series of events)
                     that has occurred and that is alleged to have given rise to at least one claim
                     asserting liability arising out of a tort, breach of contract or violation of
                     law. The QSF is subject to the continuing jurisdiction of the Court and is
                     intended to qualify as a “qualified settlement fund” as defined in Treas.
                     Reg. § 1.468B-1(a). The purpose of the QSF includes, but is not
                     necessarily limited to, (i) receiving, holding, and investing the payment to
                     be made by Teva under the Settlement Agreement, and (ii) distributing
                     amounts in accordance with the Settlement Agreement and the Escrow
                     Agreement. The duties of the Settlement Fund Administrator shall be to
                     serve these purposes and are subject to the terms of the Escrow
                     Agreement. The Settlement Fund Administrator shall manage the QSF in
                     a manner designed to preserve principal and accrue income by investing in
                     instruments/securities comprised of (a) United States Agency,
                     Government Sponsored Enterprises or Treasury securities or obligations
                     (or a mutual fund invested solely in such instruments); (b) cash equivalent
                     securities including SEC registered money market funds and collateralized
                     money market accounts; and/or (c) deposit and similar interest-bearing, or
                     non-interest bearing accounts, and certificates of deposit subject to Federal
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 55 of 155. PageID #: 584985




                     Depository Insurance Corporation protections as available. The
                     Settlement Fund Administrator shall hold and distribute the funds
                     deposited in the QSF as provided in the Settlement Agreement and subject
                     to the procedural and security requirements set forth in sections 1.3 to 1.5
                     of the Escrow Agreement.
                 iii. The term of the Settlement Fund Administrator shall continue until all
                      funds are distributed pursuant to the terms of the Settlement Agreement
                      unless the Settlement Fund Administrator is removed pursuant to the
                      Escrow Agreement.
           B. Governance of the Settlement Fund Administrator.
                  i. The Settlement Fund Administrator will administer and disburse funds
                     from the Abatement Accounts Sub-Fund, State Sub-Fund, Subdivision
                     Sub-Fund and State and Subdivision Litigation Costs Sub-Funds as
                     provided in the Settlement Agreement and subject to the procedural and
                     security requirements set forth in sections 1.3 to 1.5 of the Escrow
                     Agreement. The Settlement Fund Administrator will also perform other
                     duties as described in these terms and in the Settlement Agreement.
                 ii. All parties to the Settlement Agreement are entitled to rely upon
                     information received from the Settlement Fund Administrator, whether in
                     oral, written, or other form. On Teva’s request, the State will instruct the
                     Settlement Fund Administrator to promptly provide statements setting
                     forth the activity in the QSF to Teva. The State shall also notify Teva
                     regarding any payments or expenses paid from the QSF upon receipt of a
                     request for such information from Teva. No Party to the Settlement
                     Agreement shall have any liability (whether direct or indirect, in contract
                     or tort or otherwise) to any other party for or in connection with any action
                     taken or not taken by the Settlement Fund Administrator, except as
                     between the State and the Settlement Fund Administrator to the extent
                     provided for in the Escrow Agreement.
           C. Removal of the Settlement Fund Administrator.
                  i. The Settlement Fund Administrator may be removed pursuant to the
                     Escrow Agreement or for failure to perform its duties.
                 ii. The terms of this Exhibit E shall apply to any replacement Settlement
                     Fund Administrator.
           D. Funding of the Settlement Fund Administrator.
                  i. The costs and fees associated with or arising out of the duties of the
                     Settlement Fund Administrator shall be paid out of the State Sub-Fund.
                 ii. The costs and fees associated with the Settlement Fund Administrator
                     shall be established in the Escrow Agreement.


 III.   Calculation and Allocation of Annual Payments



                                               2
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 56 of 155. PageID #: 584986




          A. General Principles.
                 i. This Section is intended to implement the relevant provisions of the
                    Settlement Agreement and the exhibits therein, including the Florida
                    Opioid Allocation and Statewide Response Agreement. To the extent this
                    Section III conflicts with the Settlement Agreement and the exhibits
                    therein, the Settlement Agreement shall control.
                ii. With respect to the payment instructions to be provided by the State as
                    described in the following subsection III.B, the Settlement Fund
                    Administrator is entitled to rely upon the State’s instructions, provided in
                    written form and copied to Teva, for the purpose for which it was
                    submitted, provided that neither Teva nor any Participation Subdivision
                    has objected to those instructions pursuant to the procedures described in
                    the following subsection III.B.
          B. Payments
                 i. The State shall calculate the distributions due to Participating Subdivisions
                    and shall provide those calculations to the Participating Subdivisions and
                    Teva in advance of the payment date. Notice as to Teva shall be made in
                    accordance with subsection H.7 of the Agreement and notice as to
                    Participating Subdivisions shall be made as instructed by each
                    Participating Subdivision.
                ii. Objections to distributions proposed to be made by the State may be made
                    within seven (7) calendar days of receipt of notice by sending a written
                    objection by email to the following addresses:
                    john.guard@myfloridalegal.com; greg.slemp@myfloridalegal.com;
                    sabrina.donovan@myfloridalegal.com. In the event the email address to
                    which objections are to be sent changes, the State shall notify Teva and the
                    Participating Subdivision of such change, and any deadline to provide an
                    objection shall be suspended until the State has confirmed Teva and the
                    Participating Subdivisions’ receipt of such notice.
                iii. In connection with the notice, the State shall request from each
                     Participating Subdivision: (i) a completed W-9, and (ii) instructions
                     concerning how the subdivision wishes to be paid (check or wire), and, if
                     applicable, wiring instructions or the address where the payment should be
                     mailed. Any costs for the form of payment to the Participating Subdivision
                     shall be deducted from the calculated settlement payment.
                iv. In the absence of any timely objection, the State’s proposed calculations
                    shall be final, and the State shall provide the final calculations to the
                    Settlement Fund Administrator along with the W-9s, payment instructions,
                    and other required information under the Escrow Agreement and direct the
                    Settlement Fund Administrator to pay those amounts in accordance with
                    the Escrow Agreement.
                 v. In all events, the State shall provide notice to Teva in the event of any
                    objection regarding the distribution of any payment and, at its option,



                                               3
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 57 of 155. PageID #: 584987




                      Teva may elect to join any objection that is made by a Participating
                      Subdivision. In the case of any objection, whether by Teva or a
                      Participating Subdivision, the State and the entity or entities (including
                      Teva, if applicable) objecting to the payment shall resolve that objection.
                      If that resolution made by one entity affects other entities (including Teva,
                      if applicable), the State shall provide notice to those affected and resolve
                      the objection in accordance with the Settlement Agreement or the Florida
                      Opioid Allocation and Statewide Response Agreement.
                 vi. Pending the resolution of any objections as provided above, the State may
                     provide instructions to the Settlement Fund Administrator to pay any
                     undisputed portion. Before doing so, it shall provide notice to Teva and
                     the Participating Subdivisions of the dispute and a breakdown of the
                     proposed partial payments. Upon such notice, Teva and the Participating
                     Subdivisions shall have an opportunity to object to the proposed partial
                     payments in accordance with the procedures outlined in the foregoing
                     subsections.
                vii. In consultation with the State, and subject to the terms of the Settlement
                     Agreement, the Settlement Fund Administrator may set reasonable limits
                     on the frequency with which it makes payments and may set other
                     reasonable restrictions on complying with requests made by the State or
                     the Participating Subdivisions, to limit the burdens and costs imposed on
                     the Settlement Fund Administrator.
          C. Extensions.
                  i. The schedule provided for in this Section III shall be adjusted based on
                     what is practicable. The Settlement Fund Administrator shall provide
                     notice to the State and Teva regarding whether the deadlines provided for
                     in Section III or in the Escrow Agreement need to be adjusted. The State
                     shall communicate that notice to the Participating Subdivisions.
                  ii. The deadlines in this Section III may be extended by the written
                      agreement of the State and Teva.

 IV.   Reporting Obligations
               The Settlement Fund is intended to be classified as a “qualified settlement fund”
       within the meaning of Treasury regulations Section 1.468B-1, et seq. (and corresponding
       or similar provisions of state, local, or foreign law, as applicable). The Settlement Fund
       Administrator shall not take any action or tax position inconsistent with such treatment.
       The State shall obtain any necessary orders from the Court to qualify the Settlement Fund
       as a “qualified settlement fund.” The Settlement Fund Administrator shall promptly take
       all other steps necessary for qualifying and operating the QSF as a “qualified settlement
       fund” within the meaning of Treas. Reg. § 1.468B-1. These obligations include, without
       limitation, the following:
                  i. Regulation § 1.468B-3 Statement. The Settlement Fund Administrator
                     will prepare a “Regulation § 1.468B-3 Statement” pursuant to Treas. Reg.



                                                4
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 58 of 155. PageID #: 584988




                   § 1.468B-3(e) on behalf of Teva and provide copies to Teva’s counsel for
                   review and approval by January 15 of each year pertaining to transfers to
                   or from the Settlement Fund involving Teva that were made in the
                   preceding calendar year. The “Regulation § 1.468B-3 Statement” may be
                   a joint statement as permitted under Treas. Reg. § 1.468B-3(e)(2)(ii).

                ii. Regulation § 1.468B-1 Relation Back Election. If required, the Settlement
                    Fund Administrator will prepare and attach to the income tax return of the
                    QSF a “Regulation § 1.468B-1 Relation Back Election” pursuant to Treas.
                    Reg. § 1.468B-1(j) for approval and execution by Teva and the Settlement
                    Fund Administrator. The Settlement Fund Administrator will forward a
                    copy of the “Regulation § 1.468B-1 Relation Back Election” to Teva
                    promptly after filing the same.

               iii. Income Tax Returns. The Settlement Fund Administrator shall obtain
                    federal (and, if applicable, state) taxpayer identification number(s) for the
                    Settlement Fund and provide the same to Teva. The Settlement Fund
                    Administrator shall also timely and properly prepare and file on behalf of
                    the QSF: (i) federal tax, information and withholding returns in
                    accordance with Treas. Reg. § 1.468B-2 and the other provisions of the
                    Internal Revenue Code of 1986, as amended; and (ii) all necessary state
                    and local tax returns.

               iv. Tax Detriment. Notwithstanding any effort or failure of the Settlement
                   Fund Administrator and/or the parties hereto to treat the QSF as a
                   “qualified settlement fund” within the meaning of Treas. Reg. § 1.468B-1
                   effective as of the date hereof, if Teva incurs any taxes or additional tax
                   liability, interest, penalties or other tax-related losses of any kind (such tax
                   liability, interest, penalties and/or losses hereinafter collectively referred to
                   as “Tax Detriments”) resulting from income earned by the QSF, such Tax
                   Detriment shall be paid out of the State Sub-Fund or the Abatement
                   Accounts Sub-Fund of the QSF, as the State may direct, or in the absence
                   of sufficient funds in these Sub-Funds or at the State’s option, by the
                   State.

                v. Notwithstanding any other provision of this Exhibit E or the Settlement
                   Agreement, the parties hereto acknowledge and agree that Teva has made
                   no representations or warranties regarding the tax consequences and shall
                   have no liability to the State, the Settlement Fund Administrator, the
                   Participating Subdivisions or any other party with respect to matters
                   related to such tax consequences. Further, the Settlement Agreement,
                   including this Exhibit E, shall be binding on the Parties and the Settlement
                   Fund Administrator, and shall continue to apply, notwithstanding the tax
                   consequences of any payments made pursuant to the Settlement
                   Agreement and this Exhibit E.




                                               5
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 59 of 155. PageID #: 584989



                                            EXHIBIT F


                                    INJUNCTIVE RELIEF

I.     Definitions Specific to this Exhibit

       A.     “Cancer-Related Pain Care” means care that provides relief from pain resulting
              from a patient’s active cancer or cancer treatment as distinguished from treatment
              provided during remission.

       B.     “End-of-Life Care” means care for persons with a terminal illness or at high risk
              for dying in the near future in hospice care, hospitals, long-term care settings, or at
              home.

       C.     “Downstream Customer Data” shall mean transaction information that Teva
              collects relating to its direct customers’ sales to downstream customers, including
              chargeback data tied to Teva providing certain discounts, “867 data” and IQVIA
              data.

       D.     “Health Care Provider” shall mean any U.S.-based physician or other health care
              practitioner who is licensed to provide health care services and/or prescribe
              pharmaceutical products and any medical facility, practice, hospital, clinic or
              pharmacy.

       E.     “Including but not limited to”, when followed by a list or examples, shall mean that
              list or examples are illustrative instances only and shall not be read to be restrictive.

       F.     “In-Kind Support” shall mean payment or assistance in the form of goods,
              commodities, services, or anything else of value.

       G.     “Lobby” and “Lobbying” shall have the same meaning as “lobbying activities” and
              “lobbying contacts” under the federal lobbying disclosure act, 2 U.S.C. § 1602 et
              seq., and any analogous state or local provisions governing the person or entity
              being lobbied in that particular state or locality. As used in this document, “Lobby”
              and “Lobbying” include Lobbying directly or indirectly, through grantees or Third
              Parties.

       H.     “Opioid(s)” shall mean all natural, semi-synthetic, or synthetic chemicals that
              interact with opioid receptors and act like opium. For the avoidance of doubt, the
              term Opioid shall not include the opioid antagonists naloxone or naltrexone.

       I.     “Opioid Product(s)” shall mean all current and future medications containing
              Opioids approved by the U.S. Food & Drug Administration (“FDA”) and listed by
              the Drug Enforcement Administration (“DEA”) as Schedule II, III, or IV pursuant
              to the federal Controlled Substances Act (including but not limited to

                                                 1
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 60 of 155. PageID #: 584990




             buprenorphine, codeine, fentanyl, hydrocodone, hydromorphone, meperidine,
             methadone, morphine, oxycodone, oxymorphone, tapentadol, and tramadol). The
             term “Opioid Products(s)” shall not include (i) methadone, buprenorphine, or other
             substances when used exclusively to treat opioid abuse, addiction, or overdose; or (ii)
             raw materials, immediate precursors, and/or active pharmaceutical ingredients
             (“APIs”) used in the manufacture or study of Opioids or Opioid Products, but only
             when such materials, immediate precursors, and/or APIs are sold or marketed
             exclusively to DEA-licensed manufacturers or DEA-licensed researchers.

       J.    “OUD” shall mean opioid use disorder defined in the Diagnostic and Statistical
             Manual of Mental Disorders, Fifth Edition (DSM–5), as updated or amended.

       K.    “Promote,” “Promoting,” “Promotion,” and “Promotional” shall mean
             dissemination of information or other practices intended or reasonably anticipated
             to increase sales or prescriptions, or that attempts to influence prescribing practices
             of Health Care Providers in the United States.

       L.    “Qualified Researcher” shall mean any researcher holding a faculty appointment or
             research position at an institution of higher education, a research organization, a
             nonprofit organization, or a government agency.

       M.    “Suspicious Order” shall have the same meaning as provided by the Controlled
             Substances Act, 21 U.S.C. §§ 801-904, and the regulations promulgated thereunder
             and analogous Florida state laws and regulations.

       N.    “Teva” means Teva Pharmaceuticals USA, Inc. (“Teva USA”); Cephalon, Inc.;
             Watson Laboratories, Inc.; Actavis LLC; Actavis Pharma, Inc. f/k/a Watson
             Pharma, Inc.; Warner Chilcott Co., LLC; Actavis South Atlantic LLC; Actavis
             Elizabeth LLC; Actavis Mid Atlantic LLC; Actavis Totowa LLC; Actavis Kadian
             LLC; Actavis Laboratories UT, Inc. f/k/a Watson Laboratories Inc.-Salt Lake City;
             and Actavis Laboratories FL, Inc. f/k/a Watson Laboratories, Inc.-Florida.

       O.    “Third Party” shall mean any person or entity other than Teva or a government
             entity.

       P.    “Treatment of Pain” shall mean the provision of therapeutic modalities to alleviate
             or reduce pain.

       Q.    “Unbranded Information” shall mean any information that does not identify a
             specific branded or generic product(s).




                                               2
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 61 of 155. PageID #: 584991




II.    Injunctive Relief

       A.     General Provisions

              1.     Teva shall not make any written or oral statement about Opioids or any
                     Opioid Product that is false, misleading, and/or deceptive as defined under
                     the law of Florida.

              2.     Teva shall not represent that Opioids or any Opioid Products have
                     approvals, characteristics, uses, benefits, or qualities that they do not have.

       B.     Ban on Promotion

              1.     Teva shall not engage in the Promotion of Opioids or Opioid Products
                     including, but not limited to, by:

                     a.     Employing or contracting with sales representatives or other persons
                            to Promote Opioids or Opioid Products to Health Care Providers,
                            patients, or persons involved in determining the Opioid Products
                            included in formularies;

                     b.     Using speakers, key opinion leaders, thought leaders, lecturers,
                            and/or speaking events for Promotion of Opioids or Opioid
                            Products;

                     c.     Sponsoring, or otherwise providing financial support or In-Kind
                            Support to medical education programs relating to Opioids or
                            Opioid Products;

                     d.     Creating, sponsoring, operating, controlling, or otherwise providing
                            financial support or In-Kind Support to any website, network, and/or
                            social or other media account for the Promotion of Opioids or
                            Opioid Products;

                     e.     Creating, sponsoring, distributing, or otherwise providing financial
                            support or In-Kind Support for materials Promoting Opioids or
                            Opioid Products, including but not limited to brochures, newsletters,
                            pamphlets, journals, books, and guides;

                     f.     Creating, sponsoring, or otherwise providing financial support or In-
                            Kind Support for advertisements that Promote Opioids or Opioid
                            Products, including but not limited to internet advertisements or
                            similar content, and providing hyperlinks or otherwise directing
                            internet traffic to advertisements; or


                                                3
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 62 of 155. PageID #: 584992




                   g.     Engaging in Internet search engine optimization or other techniques
                          designed to Promote Opioids or Opioid Products by improving
                          rankings or making content appear among the top results in an
                          Internet search or otherwise be more visible or more accessible to
                          the public on the Internet.

             2.    Notwithstanding subsection II.B.1 directly above, Teva may:

                   a.     Maintain a corporate website;

                   b.     Maintain a website that contains principally the following content
                          for any Opioid Product: the FDA-approved package insert,
                          medication guide, and labeling, and a statement directing patients or
                          caregivers to speak with a licensed Health Care Provider;

                   c.     Provide information or support the provision of information as
                          expressly required by law or any state or federal government agency
                          with jurisdiction in the state where the information is provided.
                          Teva may, in relation to its expressly required participation in the
                          Transmucosal Immediate Release Fentanyl (“TIRF”) Risk
                          Evaluation and Mitigation Strategy (“REMS”) Program, remain
                          involved in the preparation of materials and training concerning the
                          process for enrollment in the TIRF REMS Program;

                   d.     Provide the following by mail, electronic mail, on or through Teva’s
                          corporate or product websites or through other electronic or digital
                          methods: FDA-approved package insert, medication guide,
                          approved labeling for Opioid Products or other prescribing
                          information for Opioid Products that are published by a state or
                          federal government agency with jurisdiction in the state where the
                          information is provided;

                   e.     Provide scientific and/or medical information in response to an
                          unsolicited request by a Health Care Provider consistent with the
                          standards set forth in the FDA’s Draft Guidance for Industry,
                          Responding to Unsolicited Requests for Off-Label Information
                          About Prescription Drugs and Medical Devices (Dec. 2011), as
                          updated or amended by the FDA, and Guidance for Industry, Good
                          Reprint Practices for the Distribution of Medical Journal Articles
                          and Medical or Scientific Reference Publications on Unapproved
                          New Uses of Approved Drugs and Approved or Cleared Medical
                          Devices (Jan. 2009), as updated or amended by the FDA;




                                            4
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 63 of 155. PageID #: 584993




                   f.    Provide a response to any unsolicited question or request from a
                         patient or caregiver, directing the patient or caregiver to the FDA-
                         approved labeling or to speak with a licensed Health Care Provider
                         without describing the safety or effectiveness of Opioids or any
                         Opioid Product or naming any specific provider or healthcare
                         institution; or directing the patient or caregiver to speak with their
                         insurance carrier regarding coverage of an Opioid Product;

                   g.    Provide Health Care Economic Information, as defined at 21 U.S.C.
                         § 352(a), to a payor, formulary committee, or other similar entity
                         with knowledge and expertise in the area of health care economic
                         analysis consistent with standards set forth in the FDA’s Draft
                         Questions and Answers Guidance for Industry and Review Staff,
                         Drug and Device Manufacturer Communications With Payors,
                         Formulary Committees, and Similar Entities (Jan. 2018), as updated
                         or amended by the FDA;

                   h.    Provide information relating solely to the pricing of any Opioid
                         Product;

                   i.    Provide information, through a product catalog or similar means,
                         related to an Opioid or Opioid Product, including, without
                         limitation, pricing information, weight, color, shape, packaging size,
                         type, reference listed drug, National Drug Code (“NDC”) label, and
                         such other descriptive information (including information set forth
                         in a standard Healthcare Distribution Alliance Form or technical
                         data sheet and the FDA approval letter) sufficient to identify the
                         products available, to place an order for a product, and to allow the
                         product to be loaded into a customer’s inventory and ordering
                         system or Third Party pricing compendia;

                   j.    Sponsor or provide financial support or In-Kind Support for an
                         accredited or approved continuing medical education program
                         required by either an FDA-approved REMS program or other
                         federal or state law or regulation applicable in the state where the
                         program is provided through an independent Third Party, which
                         shall be responsible for the continuing medical education program’s
                         content without the participation of Teva;

                   k.    Provide information in connection with patient support information
                         on co-pay assistance and managing pain in End-of-Life Care and/or
                         Cancer-Related Pain Care relating to the use of Opioids for
                         managing such pain, as long as the information identifies Teva as
                         the source of the information; and

                                           5
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 64 of 155. PageID #: 584994




                   l.     Provide rebates, discounts, and other customary pricing adjustments
                          to DEA-registered customers and contracting intermediaries, such
                          as Buying Groups, Group Purchasing Organizations, and Pharmacy
                          Benefit Managers, except as prohibited by Section II.G.

             3.    Teva shall not engage in the following specific Promotional activity relating
                   to any products indicated for the treatment of Opioid-induced side effects
                   (for the avoidance of doubt, “Opioid-induced side effects” does not include
                   addiction to Opioids or Opioid Products):

                   a.     Employing or contracting with sales representatives or other persons
                          to Promote products indicated for the treatment of Opioid-induced
                          side effects to Health Care Providers or patients;

                   b.     Using speakers, key opinion leaders, thought leaders, lecturers,
                          and/or speaking events to Promote products indicated for the
                          treatment of Opioid-induced side effects;

                   c.     Sponsoring, or otherwise providing financial support or In-Kind
                          Support to medical education programs that Promote products
                          indicated for the treatment of Opioid-induced side effects; or

                   d.     Creating, sponsoring, or otherwise providing financial support or In-
                          Kind Support for advertisements that Promote products indicated for
                          the treatment of Opioid-induced side effects, including but not
                          limited to internet advertisements or similar content, and providing
                          hyperlinks or otherwise directing internet traffic to advertisements.

             4.    Notwithstanding subsection II.B.3 directly above, Teva may Promote
                   products for the treatment of Opioid-induced side effects (i) so long as such
                   Promotion does not associate the product with Opioids or Opioid Products,
                   or (ii) where such Promotion concerns a product’s indication to reverse
                   overdoses and/or treat Opioid addiction. Nothing herein shall prevent Teva
                   from linking to the FDA label associated with a product.

             5.    Treatment of Pain

                   a.     Teva shall not, either through Teva or through Third Parties, engage
                          in Promotion of the Treatment of Pain in a manner that encourages
                          the utilization of Opioids or Opioid Products.

                   b.     Teva shall not, either through Teva or through Third Parties,
                          Promote the concept that pain is undertreated in a manner that
                          encourages the utilization of Opioids or Opioid Products.


                                             6
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 65 of 155. PageID #: 584995




                    c.     Teva shall not disseminate Unbranded Information, including
                           Unbranded Information about a medical condition or disease state,
                           that contains links to branded information about Opioid Products or
                           otherwise Promotes Opioids or Opioid Products.

             6.     Notwithstanding subsection II.B.5 directly above, Teva may Promote or
                    provide educational information about the Treatment of Pain with non-
                    Opioid products or therapies, including Promoting or providing educational
                    information about such non-Opioid products or therapies as alternatives to
                    Opioid use, or as part of multimodal therapy which may include Opioid use,
                    so long as such non-Opioid Promotional or educational information does not
                    Promote Opioids or Opioid Products.

       C.    No Financial Reward or Discipline Based on Volume of Opioid Sales

             1.     Teva shall not provide financial incentives to its sales and marketing
                    employees or discipline its sales and marketing employees based upon sales
                    volume or sales quotas for Opioid Products. For the avoidance of doubt, this
                    provision shall not prohibit financial incentives (e.g., customary raises or
                    bonuses) based on the performance of the overall company or business
                    segment, as measured by EBITDA, revenue, cash flow, or other similar
                    financial metrics.

             2.     Teva shall not offer or pay any remuneration (including any kickback, bribe,
                    or rebate) directly or indirectly, to or from any person in return for the
                    prescribing, sale, or use of an Opioid Product. For the avoidance of doubt,
                    this provision shall not prohibit rebates or chargebacks to the extent
                    permitted by other sections of this Consent Judgment.

             3.     Teva’s compensation policies and procedures shall be designed to ensure
                    compliance with this Consent Judgment and other legal requirements.

       D.    Ban on Funding/Grants to Third Parties

             1.     Teva shall not, directly or indirectly, provide financial support or In-Kind
                    Support to any Third Party for Promotion of or education about Opioids,
                    Opioid Products, or products indicated for the treatment of Opioid-induced
                    side effects (subject to subsections II.B.2, 4 and 6). For the avoidance of
                    doubt, this provision does not prohibit support expressly allowed by this
                    Consent Judgment or required by a federal or state agency.

             2.     Teva shall not create, sponsor, provide financial support or In-Kind Support
                    to, or otherwise operate or control any medical society or patient advocacy
                    group that primarily engages in conduct that Promotes Opioids or Opioid
                    Products.
                                              7
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 66 of 155. PageID #: 584996




             3.    Teva shall not provide links to any Third Party website or materials or
                   otherwise distribute materials created by a Third Party for the purpose of
                   Promoting Opioids, Opioid Products, or products indicated for the treatment
                   of Opioid-induced side effects (subject to subsections II.B.2, 4 and 6).

             4.    Teva shall not use, assist, or employ any Third Party to engage in any
                   activity that Teva itself would be prohibited from engaging in pursuant to
                   this Consent Judgment.

             5.    Teva shall not enter into any contract or agreement with any person or entity
                   or otherwise attempt to influence any person or entity in such a manner that
                   has the purpose or reasonably foreseeable effect of limiting the
                   dissemination of information regarding the risks and side effects of using
                   Opioids.

             6.    Teva shall not compensate or provide In-Kind Support to Health Care
                   Providers (other than Teva employees) or organizations to advocate for
                   formulary access or treatment guideline changes for the purpose of
                   increasing access to any Opioid Product through third-party payers, i.e., any
                   entity, other than an individual, that pays or reimburses for the dispensing
                   of prescription medicines, including but not limited to managed care
                   organizations and pharmacy benefit managers. Nothing in this provision,
                   however, prohibits Teva from using independent contractors who operate
                   under the direction of Teva to provide information to a payor, formulary
                   committee, or other similar entity as permitted in subsection II.B.2 provided
                   that any such persons are bound by the terms of this Consent Judgment. Nor
                   does this provision prohibit the payment of customary rebates or other
                   pricing concessions to third-party payers, including state Medicaid
                   programs, as part of an overall pricing agreement.

             7.    No officer or executive management-level employee of Teva may
                   concurrently serve as a director, board member, employee, agent, or officer
                   of any entity other than Teva Pharmaceutical Industries Ltd. or a direct or
                   indirect wholly-owned subsidiary thereof, that primarily engages in conduct
                   that Promotes Opioids, Opioid Products, or products indicated for the
                   treatment of Opioid-related side effects. For the avoidance of doubt, nothing
                   in this provision shall preclude an officer or executive management-level
                   employee of Teva from concurrently serving on the board of a hospital.

             8.    Teva shall play no role in appointing persons to the board, or hiring persons
                   to the staff, of any entity that primarily engages in conduct that Promotes
                   Opioids, Opioid Products, or products indicated for the treatment of Opioid-
                   induced side effects. For the avoidance of doubt, nothing in this paragraph
                   shall prohibit Teva from fully and accurately responding to unsolicited

                                             8
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 67 of 155. PageID #: 584997




                   requests or inquiries about a person’s fitness to serve as an employee or
                   board member at any such entity.

             9.    For the avoidance of doubt:

                   a.     Nothing in this Section II.D shall be construed or used to prohibit
                          Teva from providing financial or In-Kind Support to:

                          (i)     medical societies and patient advocate groups, who are
                                  principally involved in issues relating to (I) the treatment of
                                  OUD; (II) the prevention, education and treatment of opioid
                                  abuse, addiction, or overdose, including medication-assisted
                                  treatment for opioid addiction; and/or (III) rescue
                                  medications for opioid overdose; or

                          (ii)    universities, medical institutions, or hospitals, for the
                                  purpose of addressing, or providing education on, issues
                                  relating to (I) the treatment of OUD; (II) the prevention,
                                  education and treatment of opioid abuse, addiction, or
                                  overdose, including medication-assisted treatment for
                                  opioid addiction; and/or (III) rescue medications for opioid
                                  overdose;

                          (iii)   the American Medical Association (AMA), the American
                                  Cancer Society (ACS) or any other medical society solely
                                  dedicated to cancer treatment; or

                          (iv)    trade associations including, without limitation, PhRMA
                                  (Pharmaceutical Research and Manufacturers of America),
                                  HDA (Healthcare Distribution Alliance), AAM (Association
                                  for Accessible Medications), PCMA (Pharmaceutical Care
                                  Management Association), and NACDS (National
                                  Association of Chain Drug Stores), or successor
                                  organizations to any of the foregoing.

                   b.     The prohibitions in this Section II.D shall not apply to engagement
                          with Third Parties based on activities related to (i) medications with
                          an FDA-approved label that lists only the treatment of opioid abuse,
                          addiction, dependence and/or overdose as their “indications and
                          usage,” to the extent they are sold to addiction treatment facilities;
                          (ii) raw materials, APIs and/or immediate precursors used in the
                          manufacture or study of Opioids or Opioid Products, but only when
                          such materials, APIs and/or immediate precursors are sold or
                          marketed exclusively to DEA registrants or sold outside the United

                                             9
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 68 of 155. PageID #: 584998




                           States or its territories; or (iii) education warning about drug abuse
                           or promoting prevention or treatment of drug misuse.

                    c.     Teva will be in compliance with subsections II.D.2 and II.D.3 with
                           respect to support of an individual Third Party to the extent that the
                           State of Florida determines that such support does not increase the
                           risk of the inappropriate use of Opioids and that Teva has not acted
                           for the purpose of increasing the use of Opioids.

       E.    Lobbying Restrictions

             1.     Teva shall not Lobby for the enactment of any federal, state, or local
                    legislative or regulatory provision that:

                    a.     encourages or requires Health Care Providers to prescribe Opioids
                           or sanctions Health Care Providers for failing to prescribe Opioids
                           or failing to treat pain with Opioids; or

                    b.     pertains to the classification of any Opioid or Opioid Product as a
                           scheduled drug under the Controlled Substances Act.

             2.     Teva shall not Lobby against the enactment of any federal, state or local
                    legislative or regulatory provision that supports:

                    a.     The use of non-pharmacologic therapy and/or non-Opioid
                           pharmacologic therapy to treat chronic pain over or instead of
                           Opioid use, including but not limited to third party payment or
                           reimbursement for such therapies;

                    b.     The use and/or prescription of immediate release Opioids instead of
                           extended release Opioids when Opioid use is initiated, including but
                           not limited to third party reimbursement or payment for such
                           prescriptions;

                    c.     The prescribing of the lowest effective dose of an Opioid, including
                           but not limited to third party reimbursement or payment for such
                           prescription;

                    d.     The limitation of initial prescriptions of Opioids to treat acute
                           pain;

                    e.     The prescribing and other means of distribution of naloxone to
                           minimize the risk of overdose, including but not limited to third
                           party reimbursement or payment for naloxone;


                                             10
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 69 of 155. PageID #: 584999




                   f.     The use of urine testing before starting Opioid use and annual urine
                          testing when Opioids are prescribed, including but not limited to
                          third party reimbursement or payment for such testing;

                   g.     Evidence-based treatment (such as using medication-assisted
                          treatment with buprenorphine or methadone in combination with
                          behavioral therapies) for OUD, including but not limited to third
                          party reimbursement or payment for such treatment; or

                   h.     The implementation or use of Opioid drug disposal systems.

             3.    Teva shall not Lobby against the enactment of any federal, state or local
                   legislative or regulatory provision expanding the operation or use of
                   prescription drug monitoring programs (“PDMPs”), including but not
                   limited to provisions requiring Health Care Providers to review PDMPs
                   when Opioid use is initiated and with every prescription thereafter.

             4.    Notwithstanding the foregoing restrictions in subsections II.E.1-3, the
                   following conduct is not restricted:

                   a.     Lobbying against the enactment of any provision of any state,
                          federal, municipal, or county taxes, fees, assessments, or other
                          payments;

                   b.     Challenging the enforcement of, or suing for declaratory or
                          injunctive relief with respect to legislation, rules or regulations
                          referred to in subsection II.E.1;

                   c.     Communications made by Teva in response to a statute, rule,
                          regulation, or order requiring such communication;

                   d.     Communications by a Teva representative appearing before a
                          federal or state legislative or administrative body, committee, or
                          subcommittee as a result of a mandatory order or subpoena
                          commanding that person to testify;

                   e.     Responding, in a manner consistent with this Consent Judgment, to
                          an unsolicited request for the input on the passage of legislation or
                          the promulgation of any rule or regulation when such request is
                          submitted in writing specifically to Teva from a government entity
                          directly involved in the passage of that legislation or promulgation
                          of that rule or regulation;

                   f.     Lobbying for or against provisions of legislation or regulation that
                          address other subjects in addition to those identified in subsections

                                           11
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 70 of 155. PageID #: 585000




                          II.E.1-3, so long as Teva does not support specific portions of such
                          legislation or regulation covered by subsection II.E.1 or oppose
                          specific portions of such legislation or regulation covered by
                          subsections II.E.2-3;

                   g.     Communicating with a federal or state agency in response to a
                          Federal Register or similar notice or an unsolicited federal or state
                          legislative committee request for public comment on proposed
                          legislation;

                   h.     Responding to requests from the DEA, the FDA, or any other federal
                          or state agency, and/or participating in FDA or other agency panels
                          at the request of the agency; and

                   i.     Participating in meetings and other proceedings before the FDA,
                          FDA advisory committee or other FDA committee in connection
                          with the approval, modification of approval, or oversight of Teva’s
                          own products.

             5.    Teva shall provide notice of the prohibitions in Section II.E to all employees
                   engaged in Lobbying; incorporate the prohibitions in Section II.E into
                   trainings provided to Teva employees engaged in Lobbying; and certify that
                   it has provided such notice and trainings to Teva employees engaged in
                   Lobbying.

       F.    Monitoring and Reporting of Off-Label Use

             1.    Teva shall monitor for off-label prescribing of its brand Opioid Products in
                   the United States as provided for in the TIRF REMS Program..

             2.    Upon request of one of the following, Teva shall provide the requestor with
                   the data and analysis described in Subsection II.F.1, to be used for law
                   enforcement, counter-detailing, academic or medical research, or public
                   health and other non-commercial purposes: Florida Attorney General or
                   other law enforcement agency, Florida medical board, Florida board of
                   pharmacy, Qualified Researchers, medical and pharmacy directors of health
                   systems or clinics, medical associations, and other public health officials,
                   including but not limited to city health authorities, county medical directors,
                   and Florida public health authorities.

             3.    Teva shall provide the data and analysis described in Subsection VI.E.1 in
                   chart format, including breakdown of prescriptions by year, diagnosis, and
                   county.



                                             12
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 71 of 155. PageID #: 585001




       G.    Ban on High Dose Opioids.

             1.    After any related commercial commitments existing on the Effective Date
                   of the Release have expired, Teva shall not manufacture, promote, or
                   distribute any oxycodone pill that exceeds 40 milligrams.

       H.    Ban on Prescription Savings Programs

             1.    Teva shall not directly or indirectly offer any discounts, coupons, rebates,
                   or other methods which have the effect of reducing or eliminating a patient’s
                   co-payments or the cost of prescriptions (e.g., free trial prescriptions) for
                   any Opioid Product. This does not preclude Teva from offering discounts
                   or rebates to commercial partners on entire portfolios of products, including
                   providing discounts, coupons, rebates, or other methods for use by retail
                   chain pharmacies, such as CVS, Walgreens, Rite Aid and the like.

             2.    Teva shall not directly or indirectly provide financial support to any Third
                   Party for discounts, coupons, rebates, or other methods which have the
                   effect of reducing or eliminating a patient’s co-payments or the cost of
                   prescriptions (e.g., free trial prescriptions) for any Opioid Product.

       I.    Monitoring and Reporting of Direct and Downstream Customers.

             1.    Teva shall operate an effective monitoring and reporting system in
                   compliance with federal law, that shall include processes and procedures
                   that:

                   a.     Utilize all reasonably available transaction information to identify a
                          Suspicious Order of an Opioid Product by a direct customer;

                   b.     Utilize all reasonably available Downstream Customer Data to
                          identify whether a downstream customer poses a material risk of
                          diversion of an Opioid Product;

                   c.     Utilize all information Teva receives that bears upon a direct
                          customer’s or a downstream customer’s diversion activity or
                          potential for diversion activity, including reports by Teva’s
                          employees, customers, Health Care Providers, law enforcement,
                          state, tribal, or federal agencies, or the media; and

                   d.     Upon request (unless otherwise required by law), report to the
                          Florida Attorney General or State controlled substances regulatory
                          agency any direct customer or downstream customer in Florida
                          identified as part of the monitoring required by (a)-(c), above, and
                          any customer relationship in such State terminated by Teva relating

                                            13
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 72 of 155. PageID #: 585002




                          to diversion or potential for diversion. These reports shall include
                          the following information, to the extent known to Teva:

                          (i)      The identity of the downstream registrant and the direct
                                   customer(s) identified by Teva engaged in the controlled
                                   substance transaction(s), to include each registrant’s name,
                                   address, business type, and DEA registration number;

                          (ii)     The dates of reported distribution of controlled substances
                                   by direct customers to the downstream registrant during the
                                   relevant time period;

                          (iii)    The drug name, drug family or NDC and dosage amounts
                                   reportedly distributed;

                          (iv)     The transaction or order number of the reported
                                   distribution; and

                          (v)      A brief narrative providing a description of the
                                   circumstances leading to Teva’s conclusion that there is a
                                   risk of diversion.

             2.    Teva shall not provide to any direct customer an Opioid Product to fill an
                   order identified as a Suspicious Order unless Teva investigates and finds
                   that the order is not suspicious.

             3.    Upon request, Teva shall provide cooperation and assistance to any federal,
                   state or local law enforcement investigations of potential diversion or
                   suspicious circumstances involving Opioid Products, including criminal
                   law enforcement agencies, drug control agencies, professional licensing
                   boards, and Attorney General’s offices.

             4.    Teva agrees that it will refrain from providing an Opioid Product directly to
                   a retail pharmacy or Health Care Provider.

       J.    Miscellaneous Terms

             1.    To the extent that any provision in this Consent Judgment conflicts with
                   federal or relevant state law or regulation, the requirements of the law or
                   regulation will prevail. To the extent that any provision in this Consent
                   Judgment is in conflict with federal or relevant state law or regulation such
                   that Teva cannot comply with both the law or regulation and the provision
                   of this Consent Judgment, Teva may comply with such law or regulation.



                                             14
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 73 of 155. PageID #: 585003




             2.    Teva will enter into this Consent Judgment solely for the purpose of
                   settlement, and nothing contained therein may be taken as or construed to
                   be an admission or concession of any violation of law, rule, or regulation,
                   or of any other matter of fact or law, or of any liability or wrongdoing, all
                   of which Teva expressly denies. No part of this Consent Judgment,
                   including its statements and commitments, shall constitute evidence of any
                   liability, fault, or wrongdoing by Teva. This Consent Judgment is not
                   intended for use by any Third Party for any purpose, including submission
                   to any court for any purpose.

             3.    For the avoidance of doubt, this Consent Judgment shall not be construed
                   or used as a waiver or limitation of any defense otherwise available to Teva
                   in any action, and nothing in this Consent Judgment shall be construed or
                   used to prohibit Teva in any way whatsoever from taking legal or factual
                   positions with regard to any Opioid Product(s) in litigation or other legal or
                   administrative proceedings.

             4.    Nothing in this Consent Judgment shall be construed to limit or impair
                   Teva’s ability (a) to communicate its positions and respond to media
                   inquiries concerning litigation, investigations, reports, or other documents
                   or proceedings relating to Teva or its Opioid Products, or (b) to maintain a
                   website explaining its litigation positions and responding to allegations
                   concerning its Opioid Products.

             5.    Nothing in this Consent Judgment shall prohibit Teva from divesting any
                   Opioid or Opioid Product, in each case, including providing technical
                   development services, transferring know-how and patents, and/or providing
                   such other support services in connection therewith.

             6.    This Consent Judgment applies to the manufacture, sales, Promotion,
                   marketing and distribution by Teva within the United States and its
                   territories or involving Health Care Providers.

             7.    Upon the request of the Attorney General of the State of Florida, Teva shall
                   provide the Attorney General of the State of Florida with copies of the
                   following, within 30 days of the request:

                   a.     Any litigation or civil or criminal law enforcement subpoenas or
                          Civil Investigative Demands relating to Teva’s Opioid Product(s);
                          and

                   b.     Warning or untitled letters issued by the FDA regarding Teva’s
                          Opioid Product(s) and all correspondence between Teva and the
                          FDA related to such letters.

                                             15
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 74 of 155. PageID #: 585004




             8.     The parties by stipulation may agree to a modification of this Consent
                    Judgment; provided that the parties may jointly agree to a modification only
                    by a written instrument signed by or on behalf of both Teva and the Attorney
                    General of the State of Florida.

             9.     If, after the Effective Date of the Release, Teva enters into any collective
                    resolution of substantially all opioid claims brought by states, counties, and
                    municipalities (a “Global Resolution”) that contains injunctive relief terms
                    that are more favorable than the terms of this Consent Judgment, then this
                    Consent Judgment will be revised to contain such more favorable injunctive
                    relief terms. Teva shall provide the State a copy of any Other State
                    Settlement within thirty (30) days of its effective date.

       K.    Compliance with State Laws and Regulations Relating to the Sale, Promotion, and
             Distribution of Any Opioid Product

             1.     Subject to subsection II.G.1 above, Teva shall continue to comply with all
                    applicable state laws and regulations that relate to the sale, Promotion,
                    distribution, and disposal of Opioids or Opioid Products, including but not
                    limited to:

                    a.     Florida Controlled Substances Act, including all guidance issued by
                           the applicable state regulator(s);

                    b.     Florida Consumer Protection Laws; and

                    c.     Florida laws and regulations related to opioid prescribing,
                           distribution, and disposal.

III.   Clinical Data Transparency

       A.    Data to Be Shared

             1.     Teva shall continue to share truthful and balanced summaries of the results
                    of all Teva-Sponsored Studies through its publicly available website (see
                    https://www.tevapharm.com/teva-clinical-trials):

                    a.     “Teva-Sponsored Studies” means pre-marketing clinical research
                           and post-marketing clinical research that Teva “takes responsibility
                           for and initiates” as “sponsor,” as “sponsor” is defined in 21 C.F.R.
                           § 312.3(b), and that involves an intervention with human subjects
                           with an Opioid Product.

                    b.     The summaries may include redactions to protect personal
                           identifying information, trade secret and confidential commercial

                                              16
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 75 of 155. PageID #: 585005




                           information, and information that may provide a road map for
                           defeating a product’s abuse-deterrent properties.

             2.     With respect to any Teva-Sponsored Studies relating to any new Teva
                    Opioid Product or new indication for an existing Teva Opioid Product, Teva
                    shall, within 6 months after regulatory approval or 18 months after study
                    completion, whichever occurs later, make the following clinical data that is
                    reasonably accessible and in its possession, custody, and control available
                    through a third-party data archive that makes clinical data available to
                    Qualified Researchers with a bona fide scientific research proposal:

                    a.     Fully analyzable data set(s) (including individual de-identified
                           participant-level data);

                    b.     The clinical study report(s) redacted for commercial or personal
                           identifying information;

                    c.     The full protocol(s) (including the initial version, final version, and
                           all amendments); and

                    d.     Full statistical analysis plan(s) (including all amendments and
                           documentation for additional work processes).

                    e.     Data related to Investigator Sponsored Studies are not subject to the
                           requirements in Section III.

       B.    Third-Party Data Archive

             1.     The third-party data archive referenced above shall have a panel of
                    reviewers with independent review authority to determine whether the
                    researchers are qualified, whether a research application seeks data for bona
                    fide scientific research, and whether a research proposal is complete.

             2.     The panel may exclude research proposals with a commercial interest.

             3.     Teva shall not interfere with decisions made by the staff or reviewers
                    associated with the third-party data archive.

             4.     Any data sharing agreement with a Qualified Researcher who receives
                    shared data via the third-party data archive shall contain contact information
                    for Teva’s pharmacovigilance staff. Every agreement shall require the lead
                    Qualified Researcher to inform Teva’s pharmacovigilance staff within 24
                    hours of any determination that research findings could bear on the risk-
                    benefit assessment regarding the product. The lead Qualified Researcher
                    may also share findings bearing on the risk-benefit assessment regarding

                                              17
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 76 of 155. PageID #: 585006




                     the product with regulatory authorities. Teva’s pharmacovigilance staff
                     shall take all necessary and appropriate steps upon receipt of such safety
                     information, including but not limited to notifying the appropriate
                     regulatory authorities or the public.

             5.      Teva shall bear all costs for making data and/or information available to the
                     third-party data archive.

IV.    Compliance

       A.    Compliance Duration

             1.      Sections II and III of this Exhibit shall be effective for 15 years from the
                     Effective Date of the Release.

             2.      Nothing in this Consent Judgment shall relieve Teva of its independent
                     obligation to fully comply with the laws of the State of Florida after
                     expiration of the 13-year period specified in this subsection.

       B.    Compliance Deadlines

             1.      Teva must be in full compliance with the provisions included in this
                     Consent Judgment by the Effective Date of the Release. Nothing herein
                     shall be construed as permitting Teva to avoid existing legal obligations.

V.     Enforcement

       A.    If the State believes that Teva is not in compliance with any term of this Final
             Consent Order, then the State shall:

             1.      Provide written notice specifying the reason(s) why the State believes Teva
                     is not in compliance with this Final Consent Order; and

             2.      Allow Teva at least thirty (30) days to attempt to cure such alleged non-
                     compliance (the “Cure Period”).

       B.    The State may not commence a proceeding to enforce compliance with this Final
             Consent Order before the expiration of the Cure Period, provided that the State may
             take any action if the State believes that, because of the specific practice, a threat
             to health or safety of the public requires immediate action.

       C.    Teva agrees to venue for any proceedings related to this paragraph in the Court in
             which the State of Florida files this Consent Judgment.




                                              18
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 77 of 155. PageID #: 585007




                                      EXHIBIT G
                                        draft

 Litigating Subdivision   Local Litigation Cost Share
 Alachua County               1.0580563941118500%
 Apopka                       0.1215329679172490%
 Bay County                   0.6743853947971450%
 Bradenton                    0.4749682718143620%
 Bradford County              0.2368825999247740%
 Brevard County               2.9841904994087900%
 Broward County               5.0788659071877600%
 Calhoun County               0.0589164770693348%
 Clay County                  1.4919590528781900%
 Clearwater                   0.7924203742280190%
 Coconut Creek                0.1264292438193310%
 Coral Gables                 0.0897355488925041%
 Coral Springs                0.4043048184848150%
 Daytona Beach                0.5595101817342350%
 Daytona Beach Shores         0.0049121655318066%
 Deerfield Beach              0.2530582429837640%
 Delray Beach                 0.4398589999657240%
 Deltona                      0.2491902531195310%
 Dixie County                 0.1296956977011560%
 Escambia County              1.2638929275031100%
 Florida City                 0.0049121655318066%
 Fort Lauderdale              1.0383464434128300%
 Fort Pierce                  0.1994420924009210%
 Gilchrist County             0.0804264958213678%
 Gulf County                  0.0749014445716371%
 Hallandale Beach             0.1937104759647790%
 Hamilton County              0.0599334133716682%
 Hernando County              1.8878128582969600%
 Hillsborough County          8.1548303679879300%
 Holmes County                0.1020273124575380%
 Homestead                    0.0311731835713032%
 Jackson County               0.1986930098567910%
 Jacksonville                 6.6203098069205700%
 Lake County                  0.9770487918320040%
 Lauderhill                   0.1804993838228590%
 Lee County                   2.6882938146892400%
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 78 of 155. PageID #: 585008




 Leon County               0.5890694329150050%
 Levy County               0.3140267522345930%
 Lynn Haven                0.0490126978571018%
 Manatee County            2.8609845804763200%
 Marion County             1.6654193307333400%
 Miami                     0.3660335103211090%
 Miami Gardens             0.0508604347992879%
 Miami-Dade County         5.4031323908059000%
 Miramar                   0.3491405639774380%
 Monroe County             0.4854327279611400%
 New Port Richey           0.1873705137049190%
 Niceville                 0.0271848865105896%
 North Miami               0.0379784849873643%
 Ocala                     0.4612963804104470%
 Ocoee                     0.0832593898064393%
 Okaloosa County           0.7932307453439410%
 Orange County             3.9242890922912800%
 Orlando                   1.4504780395102400%
 Ormond Beach              0.1433221901630030%
 Osceola County            1.0466816891766000%
 Oviedo                    0.1289284555802000%
 Palatka                   0.0587008320945097%
 Palm Bay                  0.5060801668138730%
 Palm Beach County         7.4561883184436100%
 Palmetto                  0.0660940498103573%
 Panama City               0.1939647100403620%
 Pasco County              5.5375586582705800%
 Pembroke Pines            0.5786072467153300%
 Pensacola                 0.4133437478506440%
 Pinellas County           5.9926126841466200%
 Pinellas Park             0.3146192084285860%
 Polk County               2.0023407694530500%
 Pompano Beach             0.4193886169870580%
 Port St. Lucie            0.4885607150696560%
 Putnam County             0.4224712051535060%
 Sanford                   0.2053280652400960%
 Santa Rosa County         0.8183885690911740%
 Sarasota                  0.6054198619009580%
 Sarasota County           2.4612900245585600%
 Seminole County           1.8860854285512600%
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 79 of 155. PageID #: 585009




 St. Augustine             0.0581446950541711%
 St. Johns County          0.8298745014344930%
 St. Lucie County          1.1954994212769900%
 St. Petersburg            1.8209515663656500%
 Stuart                    0.1015415437774050%
 Suwannee County           0.2387961653329590%
 Sweetwater                0.0051459700834591%
 Tallahassee               0.5325590997752980%
 Tampa                     2.4698749645037000%
 Taylor County             0.1152406745465610%
 Town of Eatonville        0.0049121655318066%
 Union County              0.0814547818592183%
 Volusia County            2.2307927858357100%
 Walton County             0.3357365263317270%
 Washington County         0.1501728905211320%
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 80 of 155. PageID #: 585010

                                            EXHIBIT H


               IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                   IN AND FOR PASCO COUNTY, STATE OF FLORIDA
                            WEST PASCO CIVIL DIVISION


STATE OF FLORIDA, OFFICE OF THE
ATTORNEY GENERAL, DEPARTMENT
OF LEGAL AFFAIRS,

               Plaintiff,

v.                                                               No. 2018-CA-001438

PURDUE PHARMA L.P., et al.,

               Defendants.


                                    CONSENT JUDGMENT

       Plaintiff, the State of Florida, Office of the Attorney General, Department of Legal

Affairs (“Plaintiff” or “Florida AG”), brought the above-captioned action against Defendants

Teva Pharmaceuticals USA, Inc., Cephalon, Inc., Actavis, LLC, and Actavis Pharma, Inc.

(together, “Teva”), among others, alleging: that Teva violated Florida law by deceptively

marketing opioid pain medications so as to overstate their efficacy and downplay the associated

risk of addiction, which resulted in what Florida has alleged is a public nuisance in Florida; that

Teva violated the law by failing to monitor, report and not ship allegedly suspicious orders of

opioid pain medications; that Teva violated Fla. Stat. § 501.204(1); and that Teva violated Fla.

Stat. § 895.03(3) & (4) (the “Florida AG Action”). Plaintiff brought the Florida AG Action in its

sovereign capacity as the people’s attorney in order to protect the public interest, including the

interests of the State of Florida, its governmental subdivisions and its citizens.

       In addition, numerous governmental entities in Florida (“Subdivisions”) have brought

separate lawsuits (“Actions”) in various forums against Teva, among others. These Actions
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 81 of 155. PageID #: 585011




assert claims that arise out of or relate to alleged conduct that is substantially similar to or

overlaps with the conduct alleged in the Florida AG Action (the “Covered Conduct”).

        Teva denies the allegations in the Florida AG Action and other Actions and claims to

have no liability to Plaintiff or to any Subdivision or other governmental entity (whether such

governmental entity has brought or is a party to another Action or not). Plaintiff and Teva (the

“Parties”), by their counsel, have agreed to a resolution of the Florida AG Action (“Agreement,”

attached to this judgment) and the entry of this Consent Judgment (including the injunctive terms

incorporated herein) by the Court without trial or finding of admission or wrongdoing or liability

of any kind. Furthermore, under the Agreement, and as effectuated in this Consent Judgment,

the Florida AG is exercising its authority to act in the public interest and release its own Claims

as well as those of all Subdivisions, whether asserted previously or in the future, that arise out of

or relate to the Covered Conduct. Unless otherwise specified, capitalized terms used herein shall

have the meanings specified in the Agreement.

        NOW THEREFORE, without trial or adjudication of any issue of fact or law presented in

the Florida AG Action or the other Actions, without this Consent Judgment constituting evidence

against or admission by anyone with respect to any issue of fact or law, and upon the Parties’

consent, IT IS HEREBY ORDERED AS FOLLOWS:

                                          I.      PARTIES

        1.      Defendant Teva Pharmaceuticals USA, Inc., is a Delaware corporation with its

principal places of business in Pennsylvania. Defendant Cephalon, Inc. is a Delaware corporation

with its principal place of business in Frazer, Pennsylvania. Defendant Actavis, LLC is a Delaware

limited liability company with its principal place of business in New Jersery. Defendant Actavis

Pharma, Inc. is a Delaware corporation with its principal place of business in New Jersey.

                                                       2
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 82 of 155. PageID #: 585012




       2.      Plaintiff has the authority to act in the public interest and on behalf of the people of

Florida as the people’s attorney.

                                      II.         JURISDICTION

       3.      This Court has jurisdiction over the Parties and the subject matter of this action and

all city and county Litigating Subdivisions and all other Participating Subdivisions, each of which

submits to the jurisdiction of the Court for purposes limited to the Court’s role as provided in, and

for resolving disputes to the extent provided in, the Teva Settlement.

                                          III.     AGREEMENT

       4.      The Parties have agreed to resolution of the Florida AG Action under the terms of

their Agreement, which is attached hereto as Exhibit A. In the event of a conflict between the

terms of the Exhibits and this summary document, the terms of the Agreement shall govern.

                                    IV.          FINANCIAL TERMS

       5.      On or before the later of (a) seven (7) days after the entry of this Consent Judgment,

or (b) seven (7) days after (i) the Qualified Settlement Fund contemplated by the Agreement has

been established under the authority and jurisdiction of the Court, and (ii) Teva has received a W-

9 and wire instructions for the Qualified Settlement Fund, Teva Pharmaceuticals USA, Inc.,

Cephalon, Inc., Actavis, LLC, and Actavis Pharma, Inc. shall pay the sum of $194,826,499 into

the Qualified Settlement Fund as specified in the Agreement, consisting of $177,114,999 to be

allocated for opioid remediation, $8,855,750 to be available to reimburse State Litigation Costs,

and $8,855,750 to be available to reimburse Litigating Subdivision Litigation Costs.

       6.      As contemplated by the Settlement Agreement, Plaintiff has filed a motion to

establish a Qualified Settlement Fund and appoint a settlement fund administrator, which is

contained in Exhibit B to this Consent Judgment, and a motion for State Litigation Costs, which

                                                        3
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 83 of 155. PageID #: 585013




is contained in Exhibit C to this Consent Judgment. The Court will enter separate orders with

respect to these motions.

       7.      Subsection C.1(b) of the Parties’ Agreement provides with respect to the portion of

the payment to be allocated for opioid remediation that it shall be allocated by the Qualified

Settlement Fund Administrator into three sub-funds: an Abatement Accounts Sub-Fund (also

known as a regional fund), a State Sub-Fund, and a Subdivision Sub-Fund. Subsection C.3 of the

Parties’ Agreement provides that the amount to be available to reimburse State Litigation Costs

shall be allocated by the Qualified Settlement Fund Administrator to a State Litigation Cost

Payment Sub-Fund and that the amount to be available to reimburse Litigation Subdivision

Litigation Costs shall be allocated by the Qualified Settlement Fund Administrator to a Litigating

Subdivision Litigation Cost Sub-Fund. The Court approves the allocations set forth in the

Agreement and the requirements governing distribution from each, the satisfaction of which will

be determined at the appropriate time.

       8.      The Parties’ Agreement provides that Subdivisions that elect to participate in the

settlement by the Initial Participation Date and complete other requirements specified in the

Agreement may be eligible to receive payment of a share of the Remediation Payment within a

reasonable period after the Effective Date of the Agreement. The Parties’ Agreement further

provides that Subdivisions that elect to participate in the settlement after the Initial Participation

Date and complete other requirements specified in the Agreement may be eligible to receive

payment of a share of the Remediation Payment within a reasonable period after the Post-Effective

Date Sign-on Deadline.




                                                      4
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 84 of 155. PageID #: 585014




       9.      The Parties previously agreed to an Initial Participation Date of April 28, 2022.

Pursuant to the Agreement’s terms, the Effective Date of the Agreement is __________________,

and the Post-Effective Date Sign-on Deadline is __________________.

                                 V.      INJUNCTIVE TERMS

       10.     The Parties have agreed that Teva shall be subject to the injunctive terms set forth

in Exhibit F to the Agreement.

       11.     Compliance with injunctive terms may be enforced in this Court consistent with the

terms specified in the injunctive provisions set forth in Exhibit F to the Agreement.

                     VI.     PROVISION OF SETTLEMENT PRODUCT

       12.     The Parties have agreed that pursuant to the Agreement, the Office of the Attorney

General, on behalf of the State, shall have the right to place periodic orders, not to exceed four (4)

quarterly orders per year, to Teva USA for fulfillment of Settlement Product (Naloxone

Hydrochloride Nasal Spray) over a period of ten (10) years, subject to Teva’s good faith and

reasonable efforts to meet the logistical requirements necessary to commence manufacturing of

the needed increase in units.

       13.     The Parties have agreed that the total value of the Settlement Product to be provided

under the Agreement is $84,000,000.

       14.     The terms and logistics for the ordering and delivery of Settlement Product are

specified in Exhibit K to the Agreement.

                 VII.      RELEASES AND DISMISSAL WITH PREJUDICE

       15.     Plaintiff and Teva have agreed to the Release of certain Claims as provided in

Sections D and E of the Agreement. Such Releases are given in good faith within the meaning of

Fla. Stat. § 768.31(5) and upon entry of this Consent Judgment shall be effective as to all Releasors.

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Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 85 of 155. PageID #: 585015




       16.     Plaintiff’s Claims against Teva are hereby DISMISSED WITH PREJUDICE, with

each Party to bear its own costs except as specified in the Agreement.

                                  VIII. MISCELLANEOUS

       17.     This Court retains jurisdiction to enforce the terms of this Consent Judgment. The

parties may jointly seek to modify the terms of this Consent Judgment, subject to the approval of

this Court. This Consent Judgment may be modified only by order of this Court.

       18.     This Consent Judgment shall remain in full force and effect for eight years from the

date it is entered, at which time Teva’s obligations under the Consent Judgment shall expire.

       19.     Entry of this Consent Judgment is in the public interest.

       IT IS SO ORDERED, ADJUDGED AND DECREED in Chambers at New Port Richey,

Pasco Cunty, Florida, this __ day of April 2022.




                                                     Honorable Kimberly Sharpe Byrd
                                                     Circuit Court Judge




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Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 86 of 155. PageID #: 585016




                                     JOINTLY APPROVED AND
                                     SUBMITTED FOR ENTRY:

                                     TEVA

                                     By: __________________________
                                     Name: Eric W. Sitarchuk
                                            Rebecca J. Hillyer
                                            Attorneys for Teva
                                            On behalf of Teva
                                     Date: ________________________

                                     PLAINTIFF

                                     STATE OF FLORIDA, including the
                                     OFFICE OF THE ATTORNEY GENERAL


                                     By: __________________________
                                     Name: John Guard
                                            Chief Deputy Attorney General of Florida
                                            Pursuant to the authority delegated to him
                                            by Ashley Moody, Attorney General of
                                            Florida

                                     Date: ________________________

                                     STATE OUTSIDE LITIGATION COUNSEL

                                     Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.


                                     By: __________________________
                                     Name: David C. Frederick

                                     Date: ________________________

                                     Drake Martin Law Firm, LLC


                                     By: __________________________
                                     Name: Drake Martin
                                     Date: ________________________
                                            7
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 87 of 155. PageID #: 585017
                                  EXHIBIT I

                          State - Subdivision Agreement
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 88 of 155. PageID #: 585018
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 89 of 155. PageID #: 585019
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 90 of 155. PageID #: 585020
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 91 of 155. PageID #: 585021
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 92 of 155. PageID #: 585022
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 93 of 155. PageID #: 585023
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 94 of 155. PageID #: 585024
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 95 of 155. PageID #: 585025
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 96 of 155. PageID #: 585026
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 97 of 155. PageID #: 585027
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 98 of 155. PageID #: 585028
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 99 of 155. PageID #: 585029
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 100 of 155. PageID #: 585030
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 101 of 155. PageID #: 585031




                    EXHIBIT A
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 102 of 155. PageID #: 585032

                                                               Schedule A

                                                            Core Strategies

        States and Qualifying Block Grantees shall choose from among the abatement strategies listed in
        Schedule B. However, priority shall be given to the following core abatement strategies (“Core
        Strategies”)[, such that a minimum of __% of the [aggregate] state-level abatement distributions shall
        be spent on [one or more of] them annually].1

        A. Naloxone or other FDA-approved drug to reverse opioid overdoses

        1. Expand training for first responders, schools, community support groups and families; and

        2. Increase distribution to individuals who are uninsured or whose insurance does not cover the needed
        service.

        B. Medication-Assisted Treatment (“MAT”) Distribution and other opioid-related treatment

        1. Increase distribution of MAT to non-Medicaid eligible or uninsured individuals;

        2. Provide education to school-based and youth-focused programs that discourage or prevent misuse;

        3. Provide MAT education and awareness training to healthcare providers, EMTs, law enforcement,
        and other first responders; and

        4. Treatment and Recovery Support Services such as residential and inpatient treatment, intensive
        outpatient treatment, outpatient therapy or counseling, and recovery housing that allow or integrate
        medication with other support services.

        C. Pregnant & Postpartum Women

        1. Expand Screening, Brief Intervention, and Referral to Treatment (“SBIRT”) services to non-
        Medicaid eligible or uninsured pregnant women;

        2. Expand comprehensive evidence-based treatment and recovery services, including MAT, for women
        with co-occurring Opioid Use Disorder (“OUD”) and other Substance Use Disorder (“SUD”)/Mental
        Health disorders for uninsured individuals for up to 12 months postpartum; and

        3. Provide comprehensive wrap-around services to individuals with Opioid Use Disorder (OUD)
        including housing, transportation, job placement/training, and childcare.

        D. Expanding Treatment for Neonatal Abstinence Syndrome

        1. Expand comprehensive evidence-based and recovery support for NAS babies;

        2. Expand services for better continuum of care with infant-need dyad; and

        3. Expand long-term treatment and services for medical monitoring of NAS babies and their families.



        1
         As used in this Schedule A, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for new or
        existing programs. Priorities will be established through the mechanisms described in the Term Sheet.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 103 of 155. PageID #: 585033

        E. Expansion of Warm Hand-off Programs and Recovery Services

        1. Expand services such as navigators and on-call teams to begin MAT in hospital emergency
        departments;

        2. Expand warm hand-off services to transition to recovery services;

        3. Broaden scope of recovery services to include co-occurring SUD or mental health conditions. ;

        4. Provide comprehensive wrap-around services to individuals in recovery including housing,
        transportation, job placement/training, and childcare; and

        5. Hire additional social workers or other behavioral health workers to facilitate expansions above.

        F. Treatment for Incarcerated Population

        1. Provide evidence-based treatment and recovery support including MAT for persons with OUD and
        co-occurring SUD/MH disorders within and transitioning out of the criminal justice system; and

        2. Increase funding for jails to provide treatment to inmates with OUD.

        G. Prevention Programs

        1. Funding for media campaigns to prevent opioid use (similar to the FDA’s “Real Cost” campaign to
        prevent youth from misusing tobacco);

        2. Funding for evidence-based prevention programs in schools.;

        3. Funding for medical provider education and outreach regarding best prescribing practices for opioids
        consistent with the 2016 CDC guidelines, including providers at hospitals (academic detailing);

        4. Funding for community drug disposal programs; and

        5. Funding and training for first responders to participate in pre-arrest diversion programs, post-
        overdose response teams, or similar strategies that connect at-risk individuals to behavioral health
        services and supports.

        H. Expanding Syringe Service Programs

        1. Provide comprehensive syringe services programs with more wrap-around services including linkage
        to OUD treatment, access to sterile syringes, and linkage to care and treatment of infectious diseases.

        I. Evidence-based data collection and research analyzing the effectiveness of the abatement strategies
        within the State.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 104 of 155. PageID #: 585034




                    EXHIBIT B
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 105 of 155. PageID #: 585035

                                                                Schedule

                                                            A     ro ed ses

        PART ONE TREATMENT

        A         A                  S       S

        Support treatment of Opioid Use Disorder (OUD) and any co-occurring Substance Use Disorder or
        Mental Health (SUD/MH) conditions through evidence-based or evidence-informed programs or
        strategies that may include, but are not limited to, the following 2

        1. Expand availability of treatment for OUD and any co-occurring SUD/MH conditions, including all
        forms of Medication-Assisted Treatment (MAT) approved by the U.S. Food and Drug Administration.

        2. Support and reimburse evidence-based services that adhere to the American Society of Addiction
        Medicine (ASAM) continuum of care for OUD and any co-occurring SUD/MH conditions

        3. Expand telehealth to increase access to treatment for OUD and any co-occurring SUD/MH
        conditions, including MAT, as well as counseling, psychiatric support, and other treatment and
        recovery support services.

        4. Improve oversight of Opioid Treatment Programs (OTPs) to assure evidence-based or evidence-
        informed practices such as ade uate methadone dosing and low threshold approaches to treatment.

        5. Support mobile intervention, treatment, and recovery services, offered by ualified professionals and
        service providers, such as peer recovery coaches, for persons with OUD and any co-occurring
        SUD/MH conditions and for persons who have experienced an opioid overdose.

        6. Treatment of trauma for individuals with OUD (e.g., violence, sexual assault, human trafficking, or
        adverse childhood experiences) and family members (e.g., surviving family members after an overdose
        or overdose fatality), and training of health care personnel to identify and address such trauma.

         . Support evidence-based withdrawal management services for people with OUD and any co-
        occurring mental health conditions.

         . Training on MAT for health care providers, first responders, students, or other supporting
        professionals, such as peer recovery coaches or recovery outreach specialists, including telementoring
        to assist community-based providers in rural or underserved areas.

         . Support workforce development for addiction professionals who work with persons with OUD and
        any co-occurring SUD/MH conditions.

        10. Fellowships for addiction medicine specialists for direct patient care, instructors, and clinical
        research for treatments.

        11. Scholarships and supports for behavioral health practitioners or workers involved in addressing
        OUD and any co-occurring SUD or mental health conditions, including but not limited to training,


        2
         As used in this Schedule B, words like “expand,” “fund,” “provide” or the like shall not indicate a preference for new or
        existing programs. Priorities will be established through the mechanisms described in the Term Sheet.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 106 of 155. PageID #: 585036

        scholarships, fellowships, loan repayment programs, or other incentives for providers to work in rural
        or underserved areas.

        12. [Intentionally Blank   to be cleaned up later for numbering]

        13. Provide funding and training for clinicians to obtain a waiver under the federal Drug Addiction
        Treatment Act of 2000 (DATA 2000) to prescribe MAT for OUD, and provide technical assistance and
        professional support to clinicians who have obtained a DATA 2000 waiver.

        14. Dissemination of web-based training curricula, such as the American Academy of Addiction
        Psychiatry’s Provider Clinical Support Service-Opioids web-based training curriculum and
        motivational interviewing.

        15. Development and dissemination of new curricula, such as the American Academy of Addiction
        Psychiatry’s Provider Clinical Support Service for Medication-Assisted Treatment.

          S                               A           A         C

        Support people in treatment for or recovery from OUD and any co-occurring SUD/MH conditions
        through evidence-based or evidence-informed programs or strategies that may include, but are not
        limited to, the following

        1. Provide comprehensive wrap-around services to individuals with OUD and any co-occurring
        SUD/MH conditions, including housing, transportation, education, job placement, job training, or
        childcare.

        2. Provide the full continuum of care of treatment and recovery services for OUD and any co-occurring
        SUD/MH conditions, including supportive housing, peer support services and counseling, community
        navigators, case management, and connections to community-based services.

        3. Provide counseling, peer-support, recovery case management and residential treatment with access to
        medications for those who need it to persons with OUD and any co-occurring SUD/MH conditions.

        4. Provide access to housing for people with OUD and any co-occurring SUD/MH conditions,
        including supportive housing, recovery housing, housing assistance programs, training for housing
        providers, or recovery housing programs that allow or integrate FDA-approved medication with other
        support services.

        5. Provide community support services, including social and legal services, to assist in
        deinstitutionalizing persons with OUD and any co-occurring SUD/MH conditions.

        6. Support or expand peer-recovery centers, which may include support groups, social events, computer
        access, or other services for persons with OUD and any co-occurring SUD/MH conditions.

         . Provide or support transportation to treatment or recovery programs or services for persons with
        OUD and any co-occurring SUD/MH conditions.

         . Provide employment training or educational services for persons in treatment for or recovery from
        OUD and any co-occurring SUD/MH conditions.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 107 of 155. PageID #: 585037

         . Identify successful recovery programs such as physician, pilot, and college recovery programs, and
        provide support and technical assistance to increase the number and capacity of high- uality programs
        to help those in recovery.

        10. Engage non-profits, faith-based communities, and community coalitions to support people in
        treatment and recovery and to support family members in their efforts to support the person with OUD
        in the family.

        11. Training and development of procedures for government staff to appropriately interact and provide
        social and other services to individuals with or in recovery from OUD, including reducing stigma.

        12. Support stigma reduction efforts regarding treatment and support for persons with OUD, including
        reducing the stigma on effective treatment.

        13. Create or support culturally appropriate services and programs for persons with OUD and any co-
        occurring SUD/MH conditions, including new Americans.

        14. Create and/or support recovery high schools.

        15. Hire or train behavioral health workers to provide or expand any of the services or supports listed
        above.

        C C         C                                                                      C         C       S
           CA

        Provide connections to care for people who have or at risk of developing OUD and any co-
        occurring SUD/MH conditions through evidence-based or evidence-informed programs or strategies
        that may include, but are not limited to, the following

        1. Ensure that health care providers are screening for OUD and other risk factors and know how to
        appropriately counsel and treat (or refer if necessary) a patient for OUD treatment.

        2. Fund Screening, Brief Intervention and Referral to Treatment (SBIRT) programs to reduce the
        transition from use to disorders, including SBIRT services to pregnant women who are uninsured or not
        eligible for Medicaid.

        3. Provide training and long-term implementation of SBIRT in key systems (health, schools, colleges,
        criminal justice, and probation), with a focus on youth and young adults when transition from misuse to
        opioid disorder is common.

        4. Purchase automated versions of SBIRT and support ongoing costs of the technology.

        5. Expand services such as navigators and on-call teams to begin MAT in hospital emergency
        departments.

        6. Training for emergency room personnel treating opioid overdose patients on post-discharge planning,
        including community referrals for MAT, recovery case management or support services.

         . Support hospital programs that transition persons with OUD and any co-occurring SUD/MH
        conditions, or persons who have experienced an opioid overdose, into clinically-appropriate follow-up
        care through a bridge clinic or similar approach.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 108 of 155. PageID #: 585038

         . Support crisis stabilization centers that serve as an alternative to hospital emergency departments for
        persons with OUD and any co-occurring SUD/MH conditions or persons that have experienced an
        opioid overdose.

         . Support the work of Emergency Medical Systems, including peer support specialists, to connect
        individuals to treatment or other appropriate services following an opioid overdose or other opioid-
        related adverse event.

        10. Provide funding for peer support specialists or recovery coaches in emergency departments, detox
        facilities, recovery centers, recovery housing, or similar settings; offer services, supports, or
        connections to care to persons with OUD and any co-occurring SUD/MH conditions or to persons who
        have experienced an opioid overdose.

        11. Expand warm hand-off services to transition to recovery services.

        12. Create or support school-based contacts that parents can engage with to seek immediate treatment
        services for their child; and support prevention, intervention, treatment, and recovery programs focused
        on young people.

        13. Develop and support best practices on addressing OUD in the workplace.

        14. Support assistance programs for health care providers with OUD.

        15. Engage non-profits and the faith community as a system to support outreach for treatment.

        16. Support centralized call centers that provide information and connections to appropriate services
        and supports for persons with OUD and any co-occurring SUD/MH conditions.

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        Address the needs of persons with OUD and any co-occurring SUD/MH conditions who are involved
        in, are at risk of becoming involved in, or are transitioning out of the criminal justice system through
        evidence-based or evidence-informed programs or strategies that may include, but are not limited to,
        the following

        1. Support pre-arrest or pre-arraignment diversion and deflection strategies for persons with OUD and
        any co-occurring SUD/MH conditions, including established strategies such as

               a. Self-referral strategies such as the Angel Programs or the Police Assisted Addiction Recovery
               Initiative (PAARI);

               b. Active outreach strategies such as the Drug Abuse Response Team (DART) model;

               c. “Naloxone Plus” strategies, which work to ensure that individuals who have received
               naloxone to reverse the effects of an overdose are then linked to treatment programs or other
               appropriate services;

               d. Officer prevention strategies, such as the aw Enforcement Assisted Diversion ( EAD)
               model;

               e. Officer intervention strategies such as the eon County, Florida Adult Civil Citation Network
               or the Chicago Westside Narcotics Diversion to Treatment Initiative; or
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 109 of 155. PageID #: 585039

               f. Co-responder and/or alternative responder models to address OUD-related 11 calls with
               greater SUD expertise

        2. Support pre-trial services that connect individuals with OUD and any co-occurring SUD/MH
        conditions to evidence-informed treatment, including MAT, and related services.

        3. Support treatment and recovery courts that provide evidence-based options for persons with OUD
        and any co-occurring SUD/MH conditions

        4. Provide evidence-informed treatment, including MAT, recovery support, harm reduction, or other
        appropriate services to individuals with OUD and any co-occurring SUD/MH conditions who are
        incarcerated in jail or prison.

        5. Provide evidence-informed treatment, including MAT, recovery support, harm reduction, or other
        appropriate services to individuals with OUD and any co-occurring SUD/MH conditions who are
        leaving jail or prison have recently left jail or prison, are on probation or parole, are under community
        corrections supervision, or are in re-entry programs or facilities.

        6. Support critical time interventions (CTI), particularly for individuals living with dual-diagnosis
        OUD/serious mental illness, and services for individuals who face immediate risks and service needs
        and risks upon release from correctional settings.

         . Provide training on best practices for addressing the needs of criminal-justice-involved persons with
        OUD and any co-occurring SUD/MH conditions to law enforcement, correctional, or judicial personnel
        or to providers of treatment, recovery, harm reduction, case management, or other services offered in
        connection with any of the strategies described in this section.

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        Address the needs of pregnant or parenting women with OUD and any co-occurring SUD/MH
        conditions, and the needs of their families, including babies with neonatal abstinence syndrome (NAS),
        through evidence-based or evidence-informed programs or strategies that may include, but are not
        limited to, the following

        1. Support evidence-based or evidence-informed treatment, including MAT, recovery services and
        supports, and prevention services for pregnant women or women who could become pregnant who
        have OUD and any co-occurring SUD/MH conditions, and other measures to educate and provide
        support to families affected by Neonatal Abstinence Syndrome.

        2. Expand comprehensive evidence-based treatment and recovery services, including MAT, for
        uninsured women with OUD and any co-occurring SUD/MH conditions for up to 12 months
        postpartum.

        3. Training for obstetricians or other healthcare personnel that work with pregnant women and their
        families regarding treatment of OUD and any co-occurring SUD/MH conditions.

        4. Expand comprehensive evidence-based treatment and recovery support for NAS babies; expand
        services for better continuum of care with infant-need dyad; expand long-term treatment and services
        for medical monitoring of NAS babies and their families.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 110 of 155. PageID #: 585040

        5. Provide training to health care providers who work with pregnant or parenting women on best
        practices for compliance with federal re uirements that children born with Neonatal Abstinence
        Syndrome get referred to appropriate services and receive a plan of safe care.

        6. Child and family supports for parenting women with OUD and any co-occurring SUD/MH
        conditions.

         . Enhanced family supports and child care services for parents with OUD and any co-occurring
        SUD/MH conditions.

         . Provide enhanced support for children and family members suffering trauma as a result of addiction
        in the family; and offer trauma-informed behavioral health treatment for adverse childhood events.

         . Offer home-based wrap-around services to persons with OUD and any co-occurring SUD/MH
        conditions, including but not limited to parent skills training.

        10. Support for Children’s Services Fund additional positions and services, including supportive
        housing and other residential services, relating to children being removed from the home and/or placed
        in foster care due to custodial opioid use.

        PART TWO PRE ENTION

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        Support efforts to prevent over-prescribing and ensure appropriate prescribing and dispensing of
        opioids through evidence-based or evidence-informed programs or strategies that may include, but are
        not limited to, the following

        1. Fund medical provider education and outreach regarding best prescribing practices for opioids
        consistent with Guidelines for Prescribing Opioids for Chronic Pain from the U.S. Centers for Disease
        Control and Prevention, including providers at hospitals (academic detailing).

        2. Training for health care providers regarding safe and responsible opioid prescribing, dosing, and
        tapering patients off opioids.

        3. Continuing Medical Education (CME) on appropriate prescribing of opioids.

        4. Support for non-opioid pain treatment alternatives, including training providers to offer or refer to
        multi-modal, evidence-informed treatment of pain.

        5. Support enhancements or improvements to Prescription Drug Monitoring Programs (PDMPs),
        including but not limited to improvements that

               a. Increase the number of prescribers using PDMPs;

               b. Improve point-of-care decision-making by increasing the uantity, uality, or format of data
               available to prescribers using PDMPs, by improving the interface that prescribers use to access
               PDMP data, or both; or
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 111 of 155. PageID #: 585041

               c. Enable states to use PDMP data in support of surveillance or intervention strategies, including
               MAT referrals and follow-up for individuals identified within PDMP data as likely to
               experience OUD in a manner that complies with all relevant privacy and security laws and rules.

        6. Ensuring PDMPs incorporate available overdose/naloxone deployment data, including the United
        States Department of Transportation’s Emergency Medical Technician overdose database in a manner
        that complies with all relevant privacy and security laws and rules.

         . Increase electronic prescribing to prevent diversion or forgery.

         . Educate Dispensers on appropriate opioid dispensing.

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        Support efforts to discourage or prevent misuse of opioids through evidence-based or evidence-
        informed programs or strategies that may include, but are not limited to, the following

        1. Fund media campaigns to prevent opioid misuse.

        2. Corrective advertising or affirmative public education campaigns based on evidence.

        3. Public education relating to drug disposal.

        4. Drug take-back disposal or destruction programs.

        5. Fund community anti-drug coalitions that engage in drug prevention efforts.

        6. Support community coalitions in implementing evidence-informed prevention, such as reduced
        social access and physical access, stigma reduction including staffing, educational campaigns, support
        for people in treatment or recovery, or training of coalitions in evidence-informed implementation,
        including the Strategic Prevention Framework developed by the U.S. Substance Abuse and Mental
        Health Services Administration (SAMHSA).

         . Engage non-profits and faith-based communities as systems to support prevention.

         . Fund evidence-based prevention programs in schools or evidence-informed school and community
        education programs and campaigns for students, families, school employees, school athletic programs,
        parent-teacher and student associations, and others.

         . School-based or youth-focused programs or strategies that have demonstrated effectiveness in
        preventing drug misuse and seem likely to be effective in preventing the uptake and use of opioids.

        10. Create of support community-based education or intervention services for families, youth, and
        adolescents at risk for OUD and any co-occurring SUD/MH conditions.

        11. Support evidence-informed programs or curricula to address mental health needs of young people
        who may be at risk of misusing opioids or other drugs, including emotional modulation and resilience
        skills.

        12. Support greater access to mental health services and supports for young people, including services
        and supports provided by school nurses, behavioral health workers or other school staff, to address
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 112 of 155. PageID #: 585042

        mental health needs in young people that (when not properly addressed) increase the risk of opioid or
        other drug misuse.

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        Support efforts to prevent or reduce overdose deaths or other opioid-related harms through evidence-
        based or evidence-informed programs or strategies that may include, but are not limited to, the
        following

        1. Increase availability and distribution of naloxone and other drugs that treat overdoses for first
        responders, overdose patients, individuals with OUD and their friends and family members, individuals
        at high risk of overdose, schools, community navigators and outreach workers, persons being released
        from jail or prison, or other members of the general public.

        2. Public health entities provide free naloxone to anyone in the community

        3. Training and education regarding naloxone and other drugs that treat overdoses for first responders,
        overdose patients, patients taking opioids, families, schools, community support groups, and other
        members of the general public.

        4. Enable school nurses and other school staff to respond to opioid overdoses, and provide them with
        naloxone, training, and support.

        5. Expand, improve, or develop data tracking software and applications for overdoses/naloxone
        revivals.

        6. Public education relating to emergency responses to overdoses.

         . Public education relating to immunity and Good Samaritan laws.

         . Educate first responders regarding the existence and operation of immunity and Good Samaritan
        laws.

         . Syringe service programs and other evidence-informed programs to reduce harms associated with
        intravenous drug use, including supplies, staffing, space, peer support services, referrals to treatment,
        fentanyl checking, connections to care, and the full range of harm reduction and treatment services
        provided by these programs.

        10. Expand access to testing and treatment for infectious diseases such as HI and Hepatitis C resulting
        from intravenous opioid use.

        11. Support mobile units that offer or provide referrals to harm reduction services, treatment, recovery
        supports, health care, or other appropriate services to persons that use opioids or persons with OUD and
        any co-occurring SUD/MH conditions.

        12. Provide training in harm reduction strategies to health care providers, students, peer recovery
        coaches, recovery outreach specialists, or other professionals that provide care to persons who use
        opioids or persons with OUD and any co-occurring SUD/MH conditions.

        13. Support screening for fentanyl in routine clinical toxicology testing.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 113 of 155. PageID #: 585043

        PART THREE OTHER STRATEGIES

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        In addition to items in sections C, D, and H relating to first responders, support the following

        1. Educate law enforcement or other first responders regarding appropriate practices and precautions
        when dealing with fentanyl or other drugs.

        2. Provision of wellness and support services for first responders and others who experience secondary
        trauma associated with opioid-related emergency events.

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        Support efforts to provide leadership, planning, coordination, facilitation, training and technical
        assistance to abate the opioid epidemic through activities, programs, or strategies that may include, but
        are not limited to, the following

        1. Statewide, regional, local, or community regional planning to identify root causes of addiction and
        overdose, goals for reducing harms related to the opioid epidemic, and areas and populations with the
        greatest needs for treatment intervention services; to support training and technical assistance; or to
        support other strategies to abate the opioid epidemic described in this opioid abatement strategy list.

        2. A dashboard to share reports, recommendations, or plans to spend opioid settlement funds; to show
        how opioid settlement funds have been spent; to report program or strategy outcomes; or to track, share,
        or visualize key opioid-related or health-related indicators and supports as identified through
        collaborative statewide, regional, local, or community processes.

        3. Invest in infrastructure or staffing at government or not-for-profit agencies to support collaborative,
        cross-system coordination with the purpose of preventing overprescribing, opioid misuse, or opioid
        overdoses, treating those with OUD and any co-occurring SUD/MH conditions, supporting them in
        treatment or recovery, connecting them to care, or implementing other strategies to abate the opioid
        epidemic described in this opioid abatement strategy list.

        4. Provide resources to staff government oversight and management of opioid abatement programs.

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        In addition to the training referred to throughout this document, support training to abate the opioid
        epidemic through activities, programs, or strategies that may include, but are not limited to, the
        following

        1. Provide funding for staff training or networking programs and services to improve the capability of
        government, community, and not-for-profit entities to abate the opioid crisis.

        2. Support infrastructure and staffing for collaborative cross-system coordination to prevent opioid
        misuse, prevent overdoses, and treat those with OUD and any co-occurring SUD/MH conditions, or
        implement other strategies to abate the opioid epidemic described in this opioid abatement strategy list
        (e.g., health care, primary care, pharmacies, PDMPs, etc.).

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Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 114 of 155. PageID #: 585044

        Support opioid abatement research that may include, but is not limited to, the following

        1. Monitoring, surveillance, data collection, and evaluation of programs and strategies described in this
        opioid abatement strategy list.

        2. Research non-opioid treatment of chronic pain.

        3. Research on improved service delivery for modalities such as SBIRT that demonstrate promising but
        mixed results in populations vulnerable to opioid use disorders.

        4. Research on novel harm reduction and prevention efforts such as the provision of fentanyl test strips.

        5. Research on innovative supply-side enforcement efforts such as improved detection of mail-based
        delivery of synthetic opioids.

        6. Expanded research on swift/certain/fair models to reduce and deter opioid misuse within criminal
        justice populations that build upon promising approaches used to address other substances (e.g. Hawaii
        HOPE and Dakota 24/ ).

         . Epidemiological surveillance of OUD-related behaviors in critical populations including individuals
        entering the criminal justice system, including but not limited to approaches modeled on the Arrestee
        Drug Abuse Monitoring (ADAM) system.

         . Qualitative and uantitative research regarding public health risks and harm reduction opportunities
        within illicit drug markets, including surveys of market participants who sell or distribute illicit opioids.

          . Geospatial analysis of access barriers to MAT and their association with treatment engagement and
        treatment outcomes.
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 115 of 155. PageID #: 585045




              EXHIBIT C
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 116 of 155. PageID #: 585046


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Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 117 of 155. PageID #: 585047
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 118 of 155. PageID #: 585048
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 119 of 155. PageID #: 585049
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 120 of 155. PageID #: 585050
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 121 of 155. PageID #: 585051
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 122 of 155. PageID #: 585052
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 123 of 155. PageID #: 585053
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 124 of 155. PageID #: 585054
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 125 of 155. PageID #: 585055
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 126 of 155. PageID #: 585056
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 127 of 155. PageID #: 585057
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 128 of 155. PageID #: 585058
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 129 of 155. PageID #: 585059
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 130 of 155. PageID #: 585060
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 131 of 155. PageID #: 585061
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 132 of 155. PageID #: 585062




                                                          EXHIBIT J
                                                            draft

                                           ESCROW AGREEMENT
 This Escrow Agreement dated this ___ day of _________________, 2022 (the “Escrow Agreement”), is
 entered into by and among STATE OF FLORIDA, OFFICE OF ATTORNEY GENERAL –
 DEPARTMENT OF LEGAL AFFAIRS, a GOVERNMENT ENTITY LOCATED IN THE UNITED
 STATES (“State”), and Wilmington Trust, National Association, as escrow agent (“Escrow Agent”).

                                                          RECITALS

 WHEREAS, the people of the State and its communities allege that they have been harmed by misfeasance,
 nonfeasance and malfeasance committed by certain entities within the Pharmaceutical Supply Chain with
 respect to the manufacture, distribution, and dispensing of opioid products; and

 WHEREAS, the State, through its Attorney General, and certain counties, cities, towns, and other
 municipalities, through their elected representatives and counsel, are separately engaged in litigation against
 many of the same Pharmaceutical Supply Chain Participants in connection with the manufacture,
 distribution, and dispensing of opioid products (collectively referred to as the “Litigation”); and

 WHEREAS, certain of the Pharmaceutical Supply Chain entities have separately settled or may separately
 settle with the State (collectively referred to as the “Settlements” or individually as a “Settlement”)
 conditioned on obtaining joinder and participation in those settlements from the certain of the State’s
 counties, cities, towns, and other municipalities (collectively referred to as the “Local Governments”); and

 WHEREAS, the State and its Local Governments have entered into an agreement entitled the Florida
 Opioid Allocation and Statewide Response Agreement (the “Agreement”) under which the State and its
 Local Governments have agreed to the allocation and distribution from the Settlements relating to the
 Litigation; and

 WHEREAS, it is necessary for the State to enter into this Escrow Agreement with the Escrow Agent to
 allow for the distribution of proceeds from each of the Settlements to the Local Governments and the State
 pursuant to the Agreement; and

 WHEREAS, the State seeks to establish this account as a Qualified Settlement Fund as that term is utilized
 in section 468B of the Internal Revenue Code of 1986, as amended, and Treasury Regulation Sections 26
 C.F.R. §1.468B-1 et seq.; and

 WHEREAS, the State has sought and received an order from the Circuit Court of the Sixth Judicial Circuit
 in and for Pasco County, West Pasco Division New Port Richey, Florida (the “Court”) ordering the creation
 of this account and approving the form of this Escrow Agreement and the State is subject to continuing
 jurisdiction by the Court; and

 WHEREAS, the State is establishing this account to resolve or satisfy one or more contested claims with
 respect to the manufacture, distribution, and dispensing of opioid products against Pharmaceutical Supply
 Chain Participants who have settled their claims against the State and/or Local Governments arising out of
 alleged tortious conduct and/or violations of law; and

 WHEREAS, the funds placed in the account are segregated from other funds and assets belonging to the
 State; and

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 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 133 of 155. PageID #: 585063



 NOW, THEREFORE, in consideration of the premises, and further consideration of the covenants set
 forth hereafter, it is hereby agreed mutually as follows:


                                                     ARTICLE 1
                                                  ESCROW DEPOSIT

 1.1.     Receipt of Escrow Property.

          (a)     Upon execution of this Escrow Agreement by each of the parties hereto, the State shall
 cause funds from a Settlement in the amount of $194,826,499 to be deposited into a United States Dollar
 denominated account (the “Escrow Account”) established by the Escrow Agent. The Escrow Account is
 set forth below:

                                   Manufacturers & Traders Trust Co.
                                   ABA# 031100092
                                   A/C# 155084-000
                                   A/C Name: Florida Opioid Settlement Fund Teva
                                   Attn: Global Capital Markets

         (b)      The Escrow Agent will hold the deposit and any subsequent deposits in the Escrow
 Account, together with all investments thereof and all interest accumulated thereon and proceeds therefrom
 (the “Escrow Property”), in escrow upon the terms and conditions set forth in this Escrow Agreement and
 shall not disburse funds from the Escrow Account except as provided herein.


          (c)     The State may further request that Escrow Property in the Teva Account be further
 subdivided into sub-accounts within the Teva Account in accordance with the State’s settlement agreement
 with Teva Pharmaceuticals USA, Inc., Cephalon, Inc., Actavis, LLC, and Actavis Pharma, Inc. (the “Teva
 Agreement”). The State shall provide directions prior to or soon after deposit on how Escrow Property
 shall be subdivided. The State may adjust or transfer Escrow Property between sub-accounts within the
 Teva Account after receipt consistent with the terms of the Teva Agreement. Based on the Teva Agreement
 it is expected that the Teva Account may be divided into five sub-accounts: (1) a State sub-account; (2) a
 city/county or subdivision sub-account; (3) an abatement sub-account; (4) a State attorney’s fees and costs
 sub-account; and (5) a Local Government attorney’s fee and costs sub-account.

 1.2.     Investments.

          (a)     The Escrow Agent shall invest the Escrow Property in accordance with the written
 instructions provided to the Escrow Agent and signed by the State in such investments (i) as shall from time
 to time be selected by the State and (ii) be investments the Escrow Agent is able to hold. In all events, the
 proceeds shall be managed in a manner designed to preserve principal and accrue income by investing in
 instruments/securities comprised of (a) United States Agency, Government Sponsored Enterprises or
 Treasury securities or obligations (or a mutual fund invested solely in such instruments); (b) cash equivalent
 securities including SEC registered money market funds and collateralized money market accounts; and/or
 (c) deposit and similar interest-bearing, or non-interest bearing accounts, and certificates of deposit subject
 to Federal Depository Insurance Corporation protections as available. In the absence of written investment
 instructions from the State, the Escrow Agent shall hold the Escrow Property un-invested, without interest
 thereon. For the avoidance of doubt, any investment earnings and income on the Escrow Property shall
 become part of the Escrow Property, and shall be disbursed in accordance with Section 1.3 below. The
 Escrow Agent shall make no disbursement, investment or other use of funds until and unless it has collected

                                                          2
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 134 of 155. PageID #: 585064



 funds. The Escrow Agent shall not be liable for collection items until such proceeds have been received or
 the Federal Reserve has given the Escrow Agent credit for the funds.

          (b)     The Escrow Agent is hereby authorized and directed to sell or redeem any such investments
 as it deems necessary to make any payments or distributions required under this Escrow Agreement. The
 Escrow Agent shall have no responsibility or liability for any loss which may result from any investment
 or sale of investment made pursuant to this Escrow Agreement. The Escrow Agent is hereby authorized,
 in making or disposing of any investment permitted by this Escrow Agreement, to deal with itself (in its
 individual capacity) or with any one or more of its affiliates, whether it or any such affiliate is acting as
 agent of the Escrow Agent or for any third person or dealing as principal for its own account. The Parties
 acknowledge that the Escrow Agent is not providing investment supervision, recommendations, or advice.


         (c)      In the event that market conditions are such that negative interest applies to amounts
 deposited with the Escrow Agent, the State shall be responsible for the payment of such interest and the
 Escrow Agent shall be entitled to deduct from amounts on deposit with it an amount necessary to pay such
 negative interest. For the avoidance of doubt, the indemnification protections afforded to the Escrow Agent
 under Section 3.1 of this Agreement shall cover any interest-related expenses (including, but not limited to,
 negative interest) incurred by the Escrow Agent in the performance of its duties hereunder.

 1.3.     Disbursements.

         (a)     The State shall provide direction to Escrow Agent of any disbursement of Escrow Property
 and all directions shall be in writing (a “Written Direction” and as used herein, the term “Written
 Direction” may refer, variably, to a writing substantially in the form of either Exhibit “A-1” or Exhibit “A-
 2,” as the context may require). It is expected that disbursements of Escrow Property will happen
 periodically depending on the terms of the Settlements. It is expected that at least two disbursements will
 be made in the first calendar year of the Escrow Agreement.

         (b)       In the event that Escrow Agent makes any payment to any other party pursuant to this
 Escrow Agreement and for any reason such payment (or any portion thereof) is required to be returned to
 the Escrow Account or another party or is subsequently invalidated, declared to be fraudulent or
 preferential, set aside and/or required to be repaid to a receiver, trustee or other party under any bankruptcy
 or insolvency law, other federal or state law, common law or equitable doctrine, then the recipient shall
 repay to the Escrow Agent upon written request the amount so paid to it.

         (c)     The Escrow Agent shall, in its sole discretion, comply with judgments or orders issued or
 process entered by any court with respect to the Escrow Property, including without limitation any
 attachment, levy or garnishment, without any obligation to determine such court's jurisdiction in the matter
 and in accordance with its normal business practices. If the Escrow Agent complies with any such
 judgment, order or process, then Escrow Agent shall not be liable to the State or any other person by reason
 of such compliance, regardless of the final disposition of any such judgment, order or process.

          (d)     The State understands and agrees that the Escrow Agent shall have no obligation or duty
 to act upon a Written Direction delivered to the Escrow Agent for the disbursement of Escrow Property
 under this Escrow Agreement if such Written Direction is not (i) in writing, (ii) signed by, in the case of
 the State, any individual designated by the State on Exhibit B hereto (each such individual an “Authorized
 Representative”), and (iii) delivered to, and able to be authenticated by, the Escrow Agent in accordance
 with Section 1.5.




                                                          3
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 135 of 155. PageID #: 585065



          (e)      Upon request, the Escrow Agent will furnish monthly statements to the State setting forth
 the activity in the Escrow Account. Upon request by the State, the Escrow Agent will furnish monthly
 statements to Teva Pharmaceuticals USA, Inc., Cephalon, Inc., Actavis, LLC, and Actavis Pharma, Inc.
 setting forth the activity in the Teva Account (including all constituent sub-accounts of the Teva Account).
 the Escrow Agent will furnish monthly statements to that Pharmaceutical Supply Chain Participant setting
 forth the activity in that Pharmaceutical Supply Chain Participant’s Sub-Fund (including all constituent
 sub-funds of that Sub-Fund) within the Escrow Account.

          (f)     The State may specify in a Written Direction whether the Escrow Property shall be
 disbursed by way of wire transfer or check. If the written notice for the disbursement of funds does not so
 specify the disbursement means, the Escrow Agent may disburse the Escrow Property by any means chosen
 by the Escrow Agent.


 1.4.     Written Direction and Other Instruction.

          (a)      With respect to any Written Direction or any other notice, direction or other instruction
 required to be delivered by the State to the Escrow Agent under this Escrow Agreement, the Escrow Agent
 is authorized to follow and rely upon any and all such instructions given to it from time to time if the Escrow
 Agent believes, in good faith, that such instruction is genuine and to have been signed by an Authorized
 Representative of the State. The Escrow Agent shall have no duty or obligation to verify that the person
 who sent such instruction is, in fact, a person duly authorized to give instructions on behalf of the State,
 other than to verify that the signature of the Authorized Representative on any such instruction appears to
 be the signature of such person The State acknowledges and agrees that it is fully informed of the
 protections and risks associated with the various methods of transmitting instructions to the Escrow Agent,
 and that there may be more secure methods of transmitting instructions other than the method selected by
 the State. The Escrow Agent shall have no responsibility or liability for any loss which may result from:

                        (i) any action taken or not taken by the Escrow Agent in good faith reliance on any
                    such signatures, telephonic and email confirmations or instructions;

                         (ii) the State’s reliance upon or use of any particular method of delivering instructions
                    to the Escrow Agent, including the risk of interception of such instruction and misuse by
                    third parties; or

                        (iii) any officer or Authorized Representative named in an incumbency certificate or
                    Exhibit B delivered hereunder prior to actual receipt by the Escrow Agent of a more current
                    incumbency certificate or an updated Exhibit B and a reasonable time for the Escrow Agent
                    to act upon such updated or more current certificate or Exhibit.

         (b)      The State may, at any time, update Exhibit B by signing and submitting to the Escrow
 Agent an updated Exhibit. An updated Exhibit B shall constitute a Written Direction that is subject to the
 authentication and security requirements set forth in Section 1.5 below. Any updated Exhibit shall not be
 effective unless the Escrow Agent countersigns a copy thereof. The Escrow Agent shall be entitled to a
 reasonable time to act to implement any changes on an updated Exhibit.

 1.5.     Delivery and Authentication of Written Direction.

          (a)      A Written Direction must be delivered to the Escrow Agent by one of the delivery methods
 set forth in Section 4.3.


                                                          4
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 136 of 155. PageID #: 585066



         (b)      The State and the Escrow Agent hereby agree that the following security procedures will
 be used to verify the authenticity of a Written Direction delivered by the State to the Escrow Agent under
 this Escrow Agreement:

                         (i) The Written Direction must include the name and signature of the person
                    delivering the disbursement request to the Escrow Agent. The Escrow Agent will check
                    that the name and signature of the person identified on the Written Direction appears to be
                    the same as the name and signature of an Authorized Representative;

                        (ii) The Escrow Agent will make a telephone call to the Authorized Representative
                    purporting to deliver the Written Direction (which Authorized Representative shall be the
                    same as the Authorized Representative who delivered the Written Direction) at any
                    telephone number for such Authorized Representative as set forth on Exhibit B, as
                    applicable, to obtain oral confirmation of delivery of the Written Direction; and

                        (iii) If the Written Direction is sent by email to the Escrow Agent, the Escrow Agent
                    also shall review such email address to verify that it appears to have been sent from an
                    email address for an Authorized Representative as set forth on Exhibit B, or from an email
                    address for a person authorized under Exhibit B, to email a Written Direction to the Escrow
                    Agent on behalf of the Authorized Representative).

          (c)     The State acknowledges and agrees that given its particular circumstances, including the
 nature of its business, the size, type and frequency of its instructions, transactions and files, internal
 procedures and systems, the alternative security procedures offered by the Escrow Agent and the security
 procedures in general use by other customers and banks similarly situated, the security procedures set forth
 in this Section 1.5 are a commercially reasonable method of verifying the authenticity of a payment order
 in a Written Direction.

         (d)      The Escrow Agent is authorized to execute and the State expressly agrees to be bound by
 any payment order in a Written Direction issued in its name (and associated funds transfer) (i) that is
 accepted by the Escrow Agent in accordance with the security procedures set forth in this Section 1.5,
 whether or not authorized by the State and/or (ii) that is authorized by or on behalf of the State or for which
 the State is otherwise bound under the law of agency, whether or not the security procedures set forth in
 this Section 1.5 were followed, and to debit the Escrow Account for the amount of the payment order.
 Notwithstanding anything else, the Escrow Agent shall be deemed to have acted in good faith and without
 negligence, gross negligence or misconduct if the Escrow Agent is authorized to execute the payment order
 under this Section 1.5. Any action taken by the Escrow Agent pursuant to this Section 1.5 prior to the
 Escrow Agent’s actual receipt and acknowledgement of a notice of revocation, cancellation or amendment
 of a Written Direction shall not be affected by such notice of revocation, cancellation or amendment of a
 Written Direction.

           (e)     The security procedures set forth in this Section 1.5 are intended to verify the authenticity
 of payment orders provided to the Escrow Agent and are not designed to, and do not, detect errors in the
 transmission or content of any payment order. The Escrow Agent is not responsible for detecting an error
 in the payment order, regardless of whether the State believes the error was apparent, and the Escrow Agent
 is not liable for any losses arising from any failure to detect an error.

         (f)      When instructed to credit or pay a party by both name and a unique numeric or alpha-
 numeric identifier (e.g. ABA number or account number), the Escrow Agent, and any other banks
 participating in the funds transfer, may rely solely on the unique identifier, even if it identifies a party


                                                          5
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 137 of 155. PageID #: 585067



 different than the party named. The State agrees to be bound by the rules of any funds transfer network used
 in connection with any payment order accepted by the Escrow Agent hereunder.

          (g)     The Escrow Agent shall not be obliged to make any payment requested under this Escrow
 Agreement if it is unable to validate the authenticity of the request by the security procedures set forth in
 this Section 1.5. The Escrow Agent’s inability to confirm a payment order may result in a delay or failure
 to act on that payment order. Notwithstanding anything else in this Escrow Agreement, the Escrow Agent
 shall not be required to treat a payment order as having been received until the Escrow Agent has
 authenticated it pursuant to the security procedures in this Section 1.5 and shall not be liable or responsible
 for any losses arising in relation to such delay or failure to act.

 1.6.     Income Tax Allocation and Reporting.

          (a)     The Escrow Account shall be treated at all times as a “Qualified Settlement Fund” within
 the meaning of Treas. Reg. § 1.468B-1. The State and Escrow Agent, in cooperation with settling
 Pharmaceutical Supply Chain Participants shall jointly and timely take such actions as necessary or
 advisable to qualify the Escrow Account as a “Qualified Settlement Fund” within the meaning of Treas.
 Reg. § 1.468B-1 and fulfill the requirements of such Treasury Regulation, including making a “relation-
 back election” under Treas. Reg. § 1.468B-1(j)(2), if applicable, to the earliest permitted date. If applicable,
 Settlement Fund Administrator (as defined below) will prepare, or cause to have prepared, the “relation-
 back election” pursuant to Treas. Reg. § 1.468B-1(j)(2) for execution by the relevant settling
 Pharmaceutical Supply Chain Participants and the State and attach to it the Escrow Account’s first income
 tax return. For purposes of § 468B of the Internal Revenue Code of 1986, as amended, and the regulations
 promulgated thereunder, the “administrator” of the Escrow Account shall be Wilmington Trust National
 Association as the settlement fund administrator (the “Settlement Fund Administrator”) and Settlement
 Fund Administrator shall take all actions to ensure that the Settlement Fund Administrator qualifies as such.
 Settlement Fund Administrator shall timely and properly prepare, deliver to all necessary parties for
 signature, and file all necessary documentation for any elections required or advisable under Treas. Reg.
 §1.468B-1. Settlement Fund Administrator will obtain an employer identification number for the Escrow
 Account and timely prepare, or cause to have prepared,a “Regulation Section 1.468B-3 Statement” pursuant
 to Treas. Reg. §1.468B-3(e) on behalf of the settling Pharmaceutical Supply Chain Participants and provide
 copies to each settling Pharmaceutical Supply Chain Participant’s counsel for review and approval.
 Settlement Fund Administrator shall timely and properly prepare and file any informational and other tax
 returns (including state, local or foreign) necessary or advisable with respect to the Escrow Account and
 the distributions and payments therefrom including without limitation the returns described in Treas. Reg.
 §1.468B-2(k), and to the extent applicable Treas. Reg. §1.468B-2(1).


          (b)     Prior to the execution of this Escrow Agreement, or within two days thereafter, the State
 shall provide the Escrow Agent with certified tax identification numbers by furnishing appropriate forms
 W-9 or W-8 and such other forms and documents that the Escrow Agent may request. The State
 understands that if such tax reporting documentation is not provided and certified to the Escrow Agent, the
 Escrow Agent may be required by the Internal Revenue Code of 1986, as amended, and the regulations
 promulgated thereunder, to withhold a portion of any interest or other income earned on the investment of
 the Escrow Property.

         (c)      To the extent that the Escrow Agent becomes liable for the payment of any taxes in respect
 of income derived from the investment of the Escrow Property, the Escrow Agent shall satisfy such liability
 to the extent possible from the Escrow Property. Settlement Fund Administrator shall be responsible for
 the timely and proper preparation and delivery of any necessary documentation for signature by all
 necessary parties, and the timely filing of all tax returns and other tax reports required by law. No settling

                                                          6
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 138 of 155. PageID #: 585068



 Pharmaceutical Supply Chain Participant nor their respective counsel shall have any liability or
 responsibility for taxes or tax expenses, for preparing (or paying for others to prepare) tax returns, tax
 reports, or calculation of any tax payments, or for obtaining or maintaining the tax status desired for the
 Escrow Account. If any portion of the Escrow Account is returned to a settling Pharmaceutical Supply
 Chain Participant pursuant to the terms of a Settlement, that settling Pharmaceutical Supply Chain
 Participant shall provide Escrow Agent with a properly completed IRS Form W-9.

 1.7.    Termination. This Escrow Agreement shall terminate on December 31, 2039, at which time the
 Escrow Agent is authorized and directed to disburse the Escrow Property in accordance with Section 1.3
 (Disbursements) and this Escrow Agreement shall be of no further force and effect, except that the
 provisions of Sections 1.6 (Tax Allocation and Reporting), and 3.2 (Limitation of Liability) hereof shall
 survive termination.

                                               ARTICLE 2
                                      DUTIES OF THE ESCROW AGENT

 2.1.     Scope of Responsibility. Notwithstanding any provision to the contrary, the Escrow Agent is
 obligated only to perform the duties expressly and specifically set forth in this Escrow Agreement, which
 shall be deemed purely ministerial in nature. Under no circumstances will the Escrow Agent be deemed to
 be a fiduciary to the State or any other person under this Escrow Agreement or otherwise. The Escrow
 Agent will not be responsible or liable for the failure of the State to perform in accordance with this Escrow
 Agreement. The Escrow Agent shall neither be responsible for, nor chargeable with, knowledge of the
 terms and conditions of any other agreement, instrument, or document other than this Escrow Agreement,
 whether or not an original or a copy of such agreement has been provided to the Escrow Agent; and the
 Escrow Agent shall have no duty to know or inquire as to the performance or nonperformance of any
 provision of any such agreement, instrument, or document. References in this Escrow Agreement to any
 other agreement, instrument, or document are for the convenience of the parties and the Escrow Agent has
 no duties or obligations with respect thereto. The Escrow Agent acts hereunder as escrow agent only, and
 is not responsible or liable in any manner whatsoever for the sufficiency, correctness, genuineness or
 validity of the subject matter of this Escrow Agreement or any part thereof. The Escrow Agent shall have
 no responsibilities (except as expressly set forth herein) as to the validity, sufficiency, value, genuineness,
 ownership or transferability of the Escrow Property, written instructions, or any other documents in
 connection therewith, and will not be regarded as making nor be required to make, any representations
 thereto. This Escrow Agreement sets forth all matters pertinent to the escrow contemplated hereunder, and
 no additional obligations of the Escrow Agent shall be inferred or implied from the terms of this Escrow
 Agreement, any other agreement or otherwise.
 All rights, protections, privileges, indemnities and benefits granted or afforded the Escrow Agent under
 this Agreement shall be deemed applicable to all actions taken, suffered or omitted by the Settlement
 Fund Administrator under this Agreement. Additionally, information provided to Wilmington Trust in its
 capacity as Escrow Agent will not be imputed to be known by the Settlement Fund Administrator unless
 Wilmington Trust in that capacity has been made aware of such information as well.



 2.2.    Rights of the Escrow Agent. No provision of this Escrow Agreement shall require the Escrow
 Agent to expend or risk its own funds or otherwise incur any financial liability or potential financial liability
 in the performance of its duties or the exercise of its rights under this Escrow Agreement. The Escrow
 Agent shall not be obligated to take any legal action or to commence any proceedings in connection with


                                                          7
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 139 of 155. PageID #: 585069



 this Escrow Agreement or any property held hereunder or to appear in, prosecute or defend in any such
 legal action or proceedings. The Escrow Agent shall be protected in acting upon any written instruction,
 notice, request, waiver, consent, certificate, receipt, authorization, power of attorney or other paper or
 document which the Escrow Agent in good faith believes to be genuine and what it purports to be, including,
 but not limited to, items directing investment or non-investment of funds, items requesting or authorizing
 release, disbursement or retainage of the subject matter of this Escrow Agreement and items amending the
 terms of this Escrow Agreement, provided that the Escrow Agent complies with the security procedures
 governing written instructions set forth in Section 1.5 above.


 2.3.     Attorneys and Agents. The Escrow Agent shall be entitled to rely on and shall not be liable for any
 action taken or omitted to be taken by the Escrow Agent in accordance with the advice of counsel or other
 professionals retained or consulted by the Escrow Agent. The Escrow Agent shall be reimbursed as set
 forth in Section 3.1 for any and all compensation (fees, expenses and other costs) paid and/or reimbursed
 to such counsel and/or professionals. The Escrow Agent may perform any and all of its duties through its
 agents, representatives, attorneys, custodians, and/or nominees and shall not be responsible for the acts or
 omissions of such agents, representatives, attorneys, custodians or nominees appointed with due care.

 2.4.     Right Not Duty Undertaken. The permissive rights of the Escrow Agent to do things enumerated
 in this Escrow Agreement shall not be construed as duties.

                                        ARTICLE 3
                         PROVISIONS CONCERNING THE ESCROW AGENT

 3.1.    Indemnification. The Escrow Agent shall have a first lien against the Escrow Account to secure
 the obligations of the parties hereunder. The terms of this paragraph shall survive termination of this
 Escrow Agreement.

 3.2.  Limitation of Liability. THE ESCROW AGENT SHALL NOT BE LIABLE, DIRECTLY OR
 INDIRECTLY, FOR ANY (I) DAMAGES, LOSSES OR EXPENSES ARISING OUT OF OR IN
 CONNECTION WITH THIS ESCROW AGREEMENT, THE ESCROW ACCOUNT, THE ESCROW
 PROPERTY, OR THE SERVICES PROVIDED HEREUNDER, OTHER THAN DAMAGES, LOSSES
 OR EXPENSES WHICH HAVE BEEN FINALLY ADJUDICATED TO HAVE DIRECTLY RESULTED
 FROM THE ESCROW AGENT’S NEGLIGENCE, OR WILLFUL MISCONDUCT, (II) SPECIAL,
 INDIRECT OR CONSEQUENTIAL DAMAGES OR LOSSES OF ANY KIND WHATSOEVER
 (INCLUDING WITHOUT LIMITATION LOST PROFITS), EVEN IF THE ESCROW AGENT HAS
 BEEN ADVISED OF THE POSSIBILITY OF SUCH LOSSES OR DAMAGES AND REGARDLESS OF
 THE FORM OF ACTION, OR (III) ANY AMOUNT IN EXCESS OF THE VALUE OF THE ESCROW
 PROPERTY.

 3.3.     Resignation or Removal. The Escrow Agent may, at any time, resign as escrow agent hereunder
 by furnishing written notice of its resignation to the State. At such time, all fees and expenses to which the
 Escrow Agent is entitled shall be immediately due and payable to Escrow Agent. The State may remove
 the Escrow Agent by furnishing to the Escrow Agent a written notice of its removal along with payment of
 all fees and expenses to which it is entitled through the date of termination. Such resignation or removal,
 as the case may be, shall be effective thirty (30) days after the delivery of such notice or upon the earlier
 appointment of a successor, and the Escrow Agent’s sole responsibility thereafter shall be to safely keep
 the Escrow Property and to deliver the same to a successor escrow agent as shall be appointed by the State,
 as evidenced by a joint written notice filed with the Escrow Agent or in accordance with a court order. If


                                                          8
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 140 of 155. PageID #: 585070



 the State has failed to appoint a successor escrow agent prior to the expiration of thirty (30) days following
 the delivery of such notice of resignation or removal, the Escrow Agent shall be entitled, at its sole
 discretion and at the expense of State, to petition any court of competent jurisdiction for the appointment
 of a successor escrow agent or for other appropriate relief, and any such resulting appointment shall be
 binding upon the State.

 3.4.     Compensation. (a) The Escrow Agent shall be entitled to compensation for its services as stated in
 the fee schedule attached hereto as Exhibit C, which compensation shall be paid by the State. Such
 compensation is intended for the Escrow Agent's services as contemplated by this Escrow Agreement. In
 addition to such compensation, in the event that the conditions for the disbursement of funds under this
 Escrow Agreement are not fulfilled, or the Escrow Agent renders any service not contemplated in this
 Escrow Agreement, or there is any assignment of interest in the subject matter of this Escrow Agreement,
 or any material modification hereof, or if any material controversy arises hereunder, then the Escrow Agent
 shall be compensated for such extraordinary services and any services or work performed by Escrow Agent
 in connection with any delay, controversy, and reimbursed for all costs and expenses.

 The terms of this Section 3.4 shall survive termination of this Escrow Agreement.

 3.5.      Disagreements. If any conflict, disagreement or dispute arises between, among, or involving any
 of the parties hereto concerning the meaning or validity of any provision hereunder or concerning any other
 matter relating to this Escrow Agreement, or the Escrow Agent is in doubt as to the action to be taken
 hereunder, the Escrow Agent may, at its option, refuse to act until the Escrow Agent (a) receives a final
 non-appealable order of a court of competent jurisdiction directing delivery of the Escrow Property or (b)
 receives a written instruction, executed by each of the parties involved in such disagreement or dispute, in
 a form reasonably acceptable to the Escrow Agent, directing delivery of the Escrow Property. The Escrow
 Agent will be entitled to act on any such written instruction or final, non-appealable order of a court of
 competent jurisdiction without further question, inquiry or consent. The Escrow Agent may file an
 interpleader action in a state or federal court, and upon the filing thereof, the Escrow Agent will be relieved
 of all liability as to the Escrow Property and will be entitled to recover reasonable and documented out-of-
 pocket attorneys’ fees, expenses and other costs incurred in commencing and maintaining any such
 interpleader action. In the event the Escrow Agent receives conflicting instructions hereunder, the Escrow
 Agent shall be fully protected in refraining from acting until such conflict is resolved to the satisfaction of
 the Escrow Agent.

 3.6.    Merger or Consolidation. Any corporation or association into which the Escrow Agent may be
 converted or merged, or with which it may be consolidated, or to which it may sell or transfer all or
 substantially all of its corporate trust business and assets as a whole or substantially as a whole, or any
 corporation or association resulting from any such conversion, sale, merger, consolidation or transfer to
 which the Escrow Agent is a party, shall be and become the successor escrow agent under this Escrow
 Agreement and shall have and succeed to the rights, powers, duties, immunities and privileges as its
 predecessor, without the execution or filing of any instrument or paper or the performance of any further
 act.

 3.7.     Attachment of Escrow Property; Compliance with Legal Orders. In the event that any Escrow
 Property shall be attached, garnished or levied upon by any court order, or the delivery thereof shall be
 stayed or enjoined by an order of a court, or any order, judgment or decree shall be made or entered by any
 court order affecting the Escrow Property, the Escrow Agent is hereby expressly authorized, in its sole
 discretion, to respond as it deems appropriate or to comply with all writs, orders or decrees so entered or
 issued, or which it is advised by legal counsel of its own choosing is binding upon it, whether with or
 without jurisdiction. In the event that the Escrow Agent obeys or complies with any such writ, order or


                                                          9
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 141 of 155. PageID #: 585071



 decree it shall not be liable to the State or to any other person, firm or corporation, should, by reason of
 such compliance notwithstanding, such writ, order or decree be subsequently reversed, modified, annulled,
 set aside or vacated.

 3.8.     Force Majeure. The Escrow Agent shall not be responsible or liable for any failure or delay in the
 performance of its obligation under this Escrow Agreement arising out of or caused, directly or indirectly,
 by circumstances beyond its reasonable control, including, without limitation, acts of God; earthquakes;
 fire; flood; wars; acts of terrorism; civil or military disturbances; sabotage; epidemic; riots; interruptions;
 loss or malfunctions of utilities including but not limited to, computer (hardware or software), payment
 systems, or communications services; hacking, cyber-attacks or other unauthorized infiltration of Escrow
 Agent’s information technology infrastructure; accidents; labor disputes; acts of civil or military authority
 or governmental action; it being understood that the Escrow Agent shall use commercially reasonable
 efforts which are consistent with accepted practices in the banking industry to resume performance as soon
 as reasonably practicable under the circumstances.

 3.9.     Compliance with Legal Orders. The Escrow Agent shall be entitled to consult with legal counsel
 in the event that a question or dispute arises with regard to the construction of any of the provisions hereof,
 and shall incur no liability to the State premised on the contention that the Escrow Agent should not have
 sought or relied on the advice of counsel.

 3.10. No Financial Obligation. The Escrow Agent shall not be required to use its own funds in the
 performance of any of its obligations or duties or the exercise of any of its rights or powers, and shall not
 be required to take any action which, in the Escrow Agent's sole and absolute judgment, could involve it in
 expense or liability unless furnished with security which it deems, in its sole and absolute discretion, to be
 satisfactory.

                                                     ARTICLE 4
                                                  MISCELLANEOUS

 4.1.    Successors and Assigns. This Escrow Agreement shall be binding on and inure to the benefit of
 the State and the Escrow Agent and their respective successors and permitted assigns. No other persons
 shall have any rights under this Escrow Agreement. No assignment of the interest of any of the State and
 the Escrow Agent shall be binding unless and until written notice of such assignment shall be delivered to
 the other party and the Escrow Agent and shall require the prior written consent of the other party and the
 Escrow Agent (such consent not to be unreasonably withheld).

 4.2.     Escheat. The State is aware that under applicable state law, property which is presumed abandoned
 may under certain circumstances escheat to the applicable state. The Escrow Agent shall have no liability
 to the State or any other party, should any or all of the Escrow Property escheat by operation of law.

 4.3.     Notices. All notices, requests, demands, and other communications required under this Escrow
 Agreement shall be in writing, in English, and shall be deemed to have been duly given if delivered (i)
 personally, (ii) by facsimile transmission with written confirmation of receipt, (iii) by overnight delivery
 with a reputable national overnight delivery service, (iv) by mail or by certified mail, return receipt
 requested, and postage prepaid, or (v) by electronic transmission; including by way of e-mail (as long as
 such email is accompanied by a PDF or similar version of the relevant document bearing the signature of
 an Authorized Representative for the party sending the notice) with email confirmation of receipt. If any
 notice is mailed, it shall be deemed given five business days after the date such notice is deposited in the
 United States mail. If notice is given to a party, it shall be given at the address for such party set forth
 below. It shall be the responsibility of the State to notify the Escrow Agent in writing of any name or


                                                          10
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 142 of 155. PageID #: 585072



 address changes. In the case of communications delivered to the Escrow Agent, such communications shall
 be deemed to have been given on the date received by the Escrow Agent.

      If to the State:

      STATE OF FLORIDA, OFFICE OF ATTORNEY GENERAL
      The Capitol, PL-01
      Tallahassee, FL 32399-1050
      Attention: John Guard, Chief Deputy Attorney General
      Telephone: (850) 544-8303
      Facsimile:
      Email address: john.guard@myfloridalegal.com

      With a copy to:
      STATE OF FLORIDA, OFFICE OF ATTORNEY GENERAL
      The Capitol, PL-01
      Tallahassee, FL 32399-1050
      Attention: Sabrina Donovan, Director of Administration
      Telephone: (850) 414-3535
      Facsimile:
      Email address: Sabrina.donovan@myfloridalegal.com

      And a copy to:
      STATE OF FLORIDA, OFFICE OF ATTORNEY GENERAL
      The Capitol, PL-01
      Tallahassee, FL 32399-1050
      Attention: Greg Slemp, Senior Assistant Attorney General
      Telephone: (850) 414-3300
      Facsimile:
      Email address: greg.slemp@myfloridalegal.com

      And a copy to:

      Drake Martin
      Drake Martin Law Firm
      PO Box 4787
      Santa Rosa Beach, FL 32459-4787
      Telephone: (850) 608-3140
      Facsimile:
      Email address: drake@drakemartinlawfirm.com

      And a copy to:

      Eric W. Sitarchuk
      Rebecca J. Hillyer
      Morgan Lewis & Bockius, LLP
      Telephone: (215) 963-5840
      Email address: eric.sitarchuk@morganlewis.com; rebecca.hillyer@morganlewis.com
      Attorneys for Teva



                                                          11
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 143 of 155. PageID #: 585073



      If to the Escrow Agent:

      Wilmington Trust, National Association
      Corporate Client Services
      1100 N. Market Street
      Wilmington, DE 19890
      Attn: Beth Andrews
      Telephone: (302) 636-6680
      Email address: bandrews@wilmingtontrust.com


 4.4.    Governing Law. This Escrow Agreement shall be governed by and construed in accordance with
 the laws of the State of Delaware without regard to any laws relating to choice of laws (whether of the State
 of Delaware or any other jurisdiction) that would cause the application of the laws of any jurisdiction other
 than the State of Delaware.

 4.5.     Venue. The State and the Escrow Agent hereby consent to the exclusive personal jurisdiction of
 the courts located in New Castle County in the State of Delaware in the event of a dispute arising out of
 or under this Escrow Agreement. The State and the Escrow Agent hereby irrevocably waives any objection
 to the laying of the venue of any suit, action or proceeding and irrevocably submits to the exclusive
 jurisdiction of such court in such suit, action or proceeding.

 4.6.     Entire Agreement. This Escrow Agreement and the exhibits hereto set forth the entire agreement
 and understanding of the parties related to the Escrow Property and supersedes all prior agreements and
 understandings, oral or written. If a court of competent jurisdiction declares a provision invalid, it will be
 ineffective only to the extent of the invalidity, so that the remainder of the provision and Escrow Agreement
 will continue in full force and effect. In the event of any direct conflict of the terms of this Escrow
 Agreement with the terms of the Agreement, as with respect to the rights of the State and the Local
 Governments, the terms of the Agreement shall control and prevail; provided, in no event shall the Escrow
 Agent be bound by the terms of the Agreement. This Escrow Agreement is not intended to confer upon
 any person other than the parties hereto any rights or remedies.

 4.7.    Amendment. This Escrow Agreement may be amended, modified, supplemented, superseded,
 rescinded, or canceled only by a written instrument executed by the State and the Escrow Agent; provided
 that Exhibit B, as applicable, may be amended at any time in accordance with Section 1.4.

 4.8.    Waivers. The failure of any party to this Escrow Agreement at any time or times to require
 performance of any provision under this Escrow Agreement shall in no manner affect the right at a later
 time to enforce the same performance. A waiver by any party to this Escrow Agreement of any such
 condition or breach of any term, covenant, representation, or warranty contained in this Escrow Agreement,
 in any one or more instances, shall neither be construed as a further or continuing waiver of any such
 condition or breach nor a waiver of any other condition or breach of any other term, covenant,
 representation, or warranty contained in this Escrow Agreement.

 4.9.    Interpretation. Section headings of this Escrow Agreement have been inserted for convenience of
 reference only and shall in no way restrict or otherwise modify any of the terms or provisions of this Escrow
 Agreement. Unless otherwise indicated by the context, the singular shall include the plural and the plural
 shall include the singular. Any references to an Exhibit is a reference to an Exhibit of this Escrow
 Agreement.



                                                          12
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 144 of 155. PageID #: 585074



 4.10. Electronic Signatures; Facsimile Signatures; Counterparts. This Escrow Agreement may be
 executed in one or more counterparts. Such execution of counterparts may occur by manual signature,
 electronic signature, facsimile signature, manual signature transmitted by means of facsimile transmission
 or manual signature contained in an imaged document attached to an email transmission, and any such
 execution that is not by manual signature shall have the same legal effect, validity and enforceability as a
 manual signature. Each such counterpart executed in accordance with the foregoing shall be deemed an
 original, with all such counterparts together constituting one and the same instrument. The exchange of
 executed copies of this Escrow Agreement or of executed signature pages to this Escrow Agreement by
 electronic transmission, facsimile transmission or as an imaged document attached to an email
 transmission shall constitute effective execution and delivery hereof. Any copy of this Escrow Agreement
 which is fully executed and transmitted in accordance with the terms hereof may be used for all purposes
 in lieu of a manually executed copy of this Escrow Agreement and shall have the same legal effect,
 validity and enforceability as if executed by manual signature.


 4.11. Waiver of Jury Trial. THE STATE HERETO EXPRESSLY WAIVES THE RIGHT TO
 TRIAL BY JURY IN RESOLVING ANY CLAIM OR COUNTERCLAIM RELATING TO OR
 ARISING OUT OF THIS ESCROW AGREEMENT.



                                 [The remainder of this page left intentionally blank.]




                                                          13
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 145 of 155. PageID #: 585075



             IN WITNESS WHEREOF, this Escrow Agreement has been duly executed as of the date
    first written above.

                                                              STATE

                                                              By: _________________________________
                                                              Name:
                                                              Title:
                                                              Date:



                                                              WILMINGTON TRUST, NATIONAL
                                                              ASSOCIATION, as Escrow Agent

                                                              By: _________________________________
                                                              Name:
                                                              Title:
                                                              Date:




                                                             S-1
    WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 146 of 155. PageID #: 585076




                                                          EXHIBIT A-1
                                                Form of Written Direction

 VIA [DELIVERY METHOD]:

 [date]


 Wilmington Trust, National Association
 [Corporate Client Services
 1100 N. Market Street
 Wilmington, DE 19890]
 Attention: [name]

                             Re: Escrow Account No.: [##], [escrow account name]

 Ladies and Gentlemen:

         Reference is made to the Escrow Agreement, dated as of _______, 20__ entered into by and among
 STATE OF FLORIDA, OFFICE OF ATTORNEY GENERAL- DEPARTMENT OF LEGAL AFFAIRS
 (“State”), and WILMINGTON TRUST, NATIONAL ASSOCIATION, a national banking association, as
 escrow agent (the “Escrow Agent”). Capitalized terms defined in the Escrow Agreement shall have the
 same meanings when used herein. This letter is a Written Direction referred to in Section 1.3(a) of the
 Escrow Agreement.

        The State of Florida, Office of Attorney General- Department of Legal A hereby instructs the
 Escrow Agent to release the funds in the Escrow Account in the amounts, and to the account(s), as follows:

  Amount:
  Beneficiary Bank Name:
  Beneficiary Bank Address
  Line 1:
  Beneficiary Bank Address
  Line 2:
  Beneficiary Bank Address
  Line 3:
  ABA#:
  SWIFT#:
  Beneficiary Account Title:
  Beneficiary Account No./IBAN:
  Beneficiary Address
  Line 1:
  Beneficiary Address


                                                              15
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 147 of 155. PageID #: 585077




  Line 2:
  Beneficiary Address
  Line 3:
  Additional Information:

 STATE OF FLORIDA
 OFFICE OF ATTORNEY GENERAL
 DEPARTMENT OF LEGAL AFFAIRS


 By: ______________________________________
 Name:
 Title:
 Date:




                                                          16
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 148 of 155. PageID #: 585078




                                                          EXHIBIT A-2
                                                Form of Written Direction

 VIA [DELIVERY METHOD]:


 [date]


 Wilmington Trust, National Association
 [Corporate Client Services
 1100 N. Market Street
 Wilmington, DE 19890]
 Attention: [name]

                             Re: Escrow Account No.: [##], [escrow account name]

 Ladies and Gentlemen:

         Reference is made to the Escrow Agreement, dated as of _______, 20__ entered into by and among
 STATE OF FLORIDA, OFFICE OF ATTORNEY GENERAL- DEPARTMENT OF LEGAL AFFAIRS
 (“State”), and WILMINGTON TRUST, NATIONAL ASSOCIATION, a national banking association, as
 escrow agent (the “Escrow Agent”). Capitalized terms defined in the Escrow Agreement shall have the
 same meanings when used herein. This letter is a Written Direction referred to in Section 1.3(a) of the
 Escrow Agreement.

          The State of Florida, Office of Attorney General- Department of Legal Affairs hereby instructs the
 Escrow Agent to release the funds in the Escrow Account in the amounts, and to the account(s), according
 to the attached spreadsheet.

 STATE OF FLORIDA
 OFFICE OF ATTORNEY GENERAL
 DEPARTMENT OF LEGAL AFFAIRS


 By: ______________________________________
 Name:
 Title:
 Date:




                                                              17
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 149 of 155. PageID #: 585079




 [SEE ATTACHED]




                                                          18
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 150 of 155. PageID #: 585080




                                                          EXHIBIT B


                             CERTIFICATE AS TO AUTHORIZED SIGNATURES
                                           OF THE STATE


 The State hereby designates each of the following persons as its Authorized Representative for purposes of
 this Escrow Agreement, and confirms that the title, contact information and specimen signature of each
 such person as set forth below is true and correct. Each such Authorized Representative is authorized to
 initiate and approve transactions of all types for the Escrow Account established under this Escrow
 Agreement to which this Exhibit B is attached, on behalf of the State.

  Name (print):
  Specimen Signature:

  Title:
  Telephone Number                  Office:
  (required):                       Cell:
   If more than one, list all       Home:
                                    Other:
  E-mail (required):                Email 1:
  If more than one, list all        Email 2:
  Facsimile:

  Name (print):
  Specimen Signature:

  Title:
  Telephone Number                  Office:
  (required):                       Cell:
   If more than one, list all       Home:
                                    Other:
  E-mail (required):                Email 1:
  If more than one, list all        Email 2:
  Facsimile:

  Name (print):
  Specimen Signature:

  Title:
  Telephone Number                  Office:
  (required):                       Cell:
   If more than one, list all       Home:
                                    Other:

                                                             19
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 151 of 155. PageID #: 585081




  E-mail (required):                Email 1:
  If more than one, list all        Email 2:
  Facsimile:



 COMPLETE BELOW TO UPDATE EXHIBIT B

 If the State wishes to change the names or details of any of its Authorized Representatives, the State must
 complete, sign and send to Escrow Agent an updated copy of this Exhibit B-1 with such changes. Any
 updated Exhibit B shall be effective once signed by the State and Escrow Agent and shall entirely supersede
 and replace any prior Exhibit B attached to this Escrow Agreement or submitted to Escrow Agent.

 STATE

 By: _______________________________________
 Name:
 Title:
 Date:


 WILMINGTON TRUST, NATIONAL ASSOCIATION


 By: _______________________________________
 Name:
 Title:
 Date:



 Internal Use Only:
 □ Updated details of Authorized Representatives completed in full
 □ Signed by a representative of the State per relevant board resolutions/certificate of incumbency on file
 (if relevant).
 □ Call-back performed to the State to confirm authenticity of updated Exhibit B:

 Person Called:                                    Date of Call:        Time of Call:        am/pm

 Reviewed by (name):                                      Signature:                 Date:




                                                                20
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 152 of 155. PageID #: 585082




                                                          EXHIBIT C

                                                   Fees of Escrow Agent

 Acceptance Fee:                                                                                    waived

 Initial Fees as they relate to Wilmington Trust, N.A. acting in the capacity of Escrow Agent – includes
 review of the Escrow Agreement; acceptance of the Escrow appointment; setting up of Escrow
 Account(s) and accounting records; and coordination of receipt of funds for deposit to the Escrow
 Account(s). Acceptance Fee payable prior to, or within one business day after, the Escrow
 Agreement is executed by all parties.



 Escrow Agent Administration Fee:                                                               $10,000.00

 For ordinary administrative services by Escrow Agent – includes daily routine account management;
 investment transactions; cash transaction processing (including wire and check processing); monitoring
 claim notices pursuant to the agreement; disbursement of funds in accordance with the agreement; and
 mailing of trust account statements to all applicable parties. This fee shall be payable annually.

 Disbursement Fee:

 Initial disbursement by wire:                                                     $100/disbursement
 Initial disbursement by check:                                                    $75/disbursement
 For each subsequent disbursement to an existing payee:                             $40/disbursement




 Wilmington Trust, N.A.’s fees are based on the following assumptions:

     •    Number of Escrow Accounts to be established: One (1)
     •    Estimated Term of Escrow Agreement: TBD
     •    Investment of Escrow Property in: TBD


 Out-of-Pocket Expenses:                                                                   Billed At Cost




                                                             21
 WTNA – Form of Single Party Escrow Agreement (05/2021)
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 153 of 155. PageID #: 585083
                                  EXHIBIT K

                 State Plan for Acceptance and Delivery of Settlement Product




 Orders to TEVA USA
 The Office of the Attorney General, on behalf of the State, shall have the right to place periodic
 orders, not to exceed four (4) quarterly orders per year, to Teva USA for fulfillment of
 Settlement Product over a period of ten (10) years from the Effective Date of the Release, subject
 to Teva’s good faith and reasonable efforts to meet the logistical requirements necessary to
 commence manufacturing of the needed increase in units.
 Orders submitted to Teva USA on behalf of the State pursuant to this Settlement Agreement
 shall in all respects be processed and filled by Teva USA as though such orders had been
 submitted by Teva USA’s regular paying customers except to the extent inconsistent with the
 terms of the Settlement Agreement and the terms herein.
 The total volume of Settlement Product requested shall not exceed the following quantity during
 a twelve-month period:
            o Naloxone Hydrochloride Nasal Spray (4 mg dosage): 75,000 kits (2 units per kit)
              (to be ordered only in batches of 50,000 kits, 25,000 kits, or 12,500 kits, unless
              otherwise agreed to by the Parties).
 The Parties agree that the total WAC value of the Settlement Product to be provided under this
 Agreement is $84,000,000, and that for purposes of this Agreement the WAC value per kit is $125.
 Teva agrees to provide up to 672,000 kits at no cost to the State over the ten (10) year period of
 this Agreement.
 The Settlement Product order from the State shall be in writing and directed to Teva USA’s affiliate
 Anda, Inc., 2915 Weston Road, Weston, FL 33331, Attention: Patrick Cochrane,
 patrick.cochrane@andanet.com and Anthony Mihelich, anthony.mihelich@andanet.com. Each
 Settlement Product order must identify the quantity of the Settlement Product, the available annual
 amount remaining for fulfillment, and the total quantity of Settlement Product delivered by Teva
 USA as of the date of the order. The total value of orders placed by the State shall not exceed
 $84,000,000 at the agreed WAC value of $125 per kit. Teva may reject any order that if fulfilled
 would cause the total value of all Settlement Product delivered to the State to exceed this amount,
 in which case Teva shall have no obligation to fulfill or deliver the order, and the State shall reduce
 the order to an amount that does not exceed $84,000,000 total for all orders by the State.
 Teva USA shall respond to the State’s order request within seven (7) calendar days confirming the
 order. Teva USA will use its commercially reasonable efforts to ship the order directly to the
 facility designated by the State within six (6) months of the order at no cost to the State and shall
 provide the State with estimated delivery dates for receipt of the Settlement Product.
 Notwithstanding the foregoing, for each order from the State following the initial order, Teva USA
 agrees that it will use its good faith efforts to ship Settlement Product to the facility designated by
 the State within ninety (90) days of the order.

                                                   1
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 154 of 155. PageID #: 585084




 For purposes of this State Plan for Acceptance and Delivery of Settlement Product, the term “Force
 Majeure Event” means any event reasonably beyond the control of the Parties, including wars,
 hostilities, revolution, riots, civil commotion, national emergency, unavailability of supplies,
 epidemics, fire, flood, earthquake, force of nature, explosion, terrorist act, embargo, or any act of
 God, or any law, proclamation, regulation, ordinance, or other act or order of any court or
 governmental authority. In the event of a Force Majeure Event or other inability to supply any
 order made by the State for Settlement Product, Teva USA shall promptly provide written notice
 to the State. Teva USA and the State shall meet and confer within seven (7) days of such written
 notice to establish a commercially reasonable plan to resolve any inability to supply as quickly as
 reasonably possible.
 Delivery to State-Designated Facility
 Delivery of the Settlement Product shall occur no more than five (5) business days after the
 shipment date. Should delivery within this deadline not occur, Teva USA agrees to notify the State
 in writing and to work in good faith to resolve shipping or delivery issues that may arise.
 Shipping shall occur in the same manner that Teva USA regularly ships this Settlement Product
 and any damages to the Settlement Product or other shipping damages or liability arising prior to
 receipt of the Settlement Product by the State shall be fully the responsibility of Teva USA. Should
 damage to Settlement Product occur during shipping, Teva USA agrees to re-ship the amount
 damaged promptly and at no cost to the State.
 The State shall designate one location per order for delivery. In writing and no later than the
 State’s initial Settlement Product order, the State will designate the facility in Florida that will
 receive the Settlement Product on behalf of the State. The State reserves the right to designate a
 different delivery location within Florida during the pendency of this Settlement Agreement at its
 discretion.
 Should the State determine that an alternate state facility or agency will receive the Settlement
 Product during the pendency of the settlement, the State shall notify Teva USA and its affiliate
 Anda, Inc. in writing through the Settlement Product order.
 The State agrees to receive the Settlement Product in a location with appropriate storage
 accommodations and will comply with all applicable state and federal laws surrounding receipt of
 the Settlement Product.
 The State shall inspect the Settlement Product within five (5) business days upon arrival at the
 state facility. If the State identifies damages to the Settlement Product during the inspection, Teva
 USA agrees to work in good faith to replace the damaged Settlement Product promptly.
 Delivery of the Settlement Product is complete when Teva USA delivers all units of a particular
 order to the state facility and when both parties or their designees sign an invoice confirming the
 amount of units of Settlement Product received by the State.




                                                  2
Case: 1:17-md-02804-DAP Doc #: 4499-2 Filed: 06/07/22 155 of 155. PageID #: 585085




 Distribution by State
 The State intends to distribute the Settlement Product to law enforcement agencies, first
 responders, and healthcare professionals throughout Florida. (“Recipients”). The time, place, and
 manner of distribution of the Settlement Product by the State will be determined solely by the
 State. The State will require appropriate training on proper use of the Settlement Product by
 Recipients.
 The State retains the right to alter its distribution plan according to the State’s needs, including the
 right to store the Settlement Product at a state facility for any length of time. The State may
 distribute the Settlement Product as it deems best to address the opioid-related public health crisis
 in Florida, and alteration of distribution to Recipients shall be at the sole discretion of the State
 without regard to the preferences or recommendations of Teva USA.




                                                    3
